specified herein and also file the

ppear personally in court to answer the complaint, but if you claim to have a
y must serve a copy of your written answer within 20 days as

NOTICE TO DEFENDANT — You need nota

defense, either you or your attorne
original in the Clerk's Office.

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Commonwealth of Massachusetts

SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
CIVIL ACTION

No.1684_CV 02726

fossa Ly. Tee laudicHUs LLC , Plaintiff(s)
auc Shan Patlow

Vv.
Jt JOM Lin aud Encompass , Defendant(s)
Communicafious, Lue ,
SUMMONS

To the above-named Defendant:

You are hereby summoned and required to serve upon Vo leu fin Buevites Feel.

of Boston Law Geoup, 2 _
plaintiff's attorney, whose address is Bib Poco St, Ste JO Morton V7 BY i, an answer to
the complaint which is herewith served upon you, within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint. You are also required to file your answer to the complaint in the office
of the Clerk of this court at Boston either before service upon plaintiff’s attorney or within a reasonable
time thereafter.

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff’s claim or you will thereafter be barred from making such claim in any other action.

dith Fabricant nd
Witness, ie eae, Esquire, at Boston, the A day of

Saptew heen , in the year of our Lord two thousand Soik ‘onsen 22]

|
TRUE ATTE (ei J ,

1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

2. When more than one defendant is involved, the names of all defendants should appear in the caption. If a separate summons is used for each defendant,
each should be addressed to the particular defendant.

3. TO.PLAINTIFF’S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED
/(1) TORT —(2) MOTOR VEHICLE TORT —(3) CONTRACT —(4) EQUITABLE RELIEF —(5) OTHER

Ca

FORM CIV.P. 1 3rd Rev. 20M-10/11

Clerk/Magistrate

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DOCKET NO.(S i
CIVIL ACTION Pr Trial Court of Massachusetts
VER SHEET uperior Cou epartmen
co County: Suffolk
PLAINTIFF(S) DEFENDANT(S)
Fossa Ltd., IcelandicPLUS LLC and Steven Barlow | Jian Lin and
Encompass Communications, Inc. d/b/a "Brandintent”
ATTORNEY, FIRM NAME, ADDRESS AND TELEPHONE ATTORNEY (if known)

Valentin Gurvits — Boston Law Group, PC
825 Beacon Street, Suife 20, Newton, MA 02459 — 617-928-1804

Board of Bar Overseers Number 643572

Origin code and track designation

Place an x in one box only: [1 4. F04 District Court Appeal c. 231, s. 97 & 104 (After
BJ 1. F041 Original Complaint trial) (X)
L] 2. F02 Removal to Sup. Ct. C. 231, s. 104 (#5. F05 Reactivated after rescript; relief from
(Before trial) (F) judgment/Order (Mass. R. Civ. P. 60) (X)
[) #3. F03 Retransfer to Sup. Ct. C. 231, s. 102C (X) [1] 6.£10 Summary Process Appeal (X)
TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE? fC)
Breach of fiduciary duty, unjust
enrichment, fraud, breach of Li] ms az
B99 contract (F) (x)Yes _(__)No = oe
The following is a full, itemized and detailed statement of the facts on which plaintiff relles to determ ne amagesictor this
form, disregard double or treble damage claims; indicate single damages onty. | ' Cm
TORT CLAIMS le Oo Bz
(Attach additional sheets as necessary) ( ) oO =
A. Documented medical expenses to date: h LI %
1. Total hospital expenses ae. 2 0.00
2. TotalDoctorespenseS ile § 0.00
3. Total chiropractic expenses $ 0.00
4. Total physicaltherapy expenses $ _ 0.00
5. Totalotherexpenses eee $ 0.00
Subtotal § 0.00
B. Documented lost wages and compensation to date _ $ 0.00
Cc. Documented property damages to date wscaessisu beccacne aebsiaicacasecs eure aise acecaseuuweicaateycl caccewenneecucrasetacl $e 0.00
D. Reasonably anticipated future medical and hospital expenses $ 0.00
E. Reasonably anticipatedlostwages eee $ 0.00
EF: Other documented items of damages (describe) $ 0.00
G. Brief description of plaintiff's injury, Including nature and extent of injury (describe)

Defendant received funds from Plaintiff through fraud and misrepresentation and used them for personal gains instead of business purposes.

$ Atleast $200,000

TOTAL §$ Atleast $200,000

CONTRACT CLAIMS
(Attach additional sheets as necessary)
Provide a detailed description of claim(s):
Defendants promised to use funds for business purposes but instead used it for personal purposes
TOTAL $ At least $200,000

PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR COURT DEPARTMENT:

“! hereby certify that | have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution
(SJC Rule 1:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with
them the advantages and disadvantages of us hods.”

Signature of Attorney of Record fe YP _—_—— DATE: 08/31/2016
f:

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| 1684CV02726 Fossa Ltd et al vs. Lin, | Jian et al

Case Type Torts Initiating Other Tortious Action
Action:

Case Status Open Status Date: 09/01/2016

File Date 09/01/2016 Case Judge:

DCM Track: F - Fast Track Next Event:

| All Information | Party | Tickler | Docket | Disposition |

' Party Information

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| Phone Number (617)928-1804
| Attorney Shayefar, Esq., Matthew
Bar Code 685927
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| Lin, | Jian - Defendant

Alias Party Attorney
More P; formation

Encompass Communications Inc - Defendant

Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16

Page 4 of 195

Alias Party Attorney |
| it ttrmatn|
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Answer 09/01/2016 420 42/30/2016 - / Oo
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Final Pre-Trial Conference 09/01/2016 480 42/25/2017
Judgment 09/01/2016 732 09/03/2018 /
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Docket Date Docket Text File Ref Nbr. Image Avail.
09/01/2016 Case assigned to:
DCM Track F - Fast Track was added on 09/01/2016
09/01/2016 Original civil complaint filed. 1
| 09/01/2016 Civil action cover sheet filed ($200,000.00) 2 - a
| 09/01/2016 Demand for jury trial entered.
| 09/01/2016 Attorney appearance
On this date Valentin David Gurvits, Esq. added for Plaintiff Fossa Ltd
09/01/2016 Attorney appearance
On this date Matthew Shayefar, Esq. added for Plaintiff Fossa Ltd
09/01/2016 Attorney appearance
On this date Valentin David Gurvits, Esq. added for Plaintiff lcelandicPLUS LLC
| 09/01/2016 Attorney appearance
On this date Matthew Shayefar, Esq. added for Plaintiff IcelandicPLUS LLC
09/01/2016 Attorney appearance - - Oe
On this date Valentin David Gurvits, Esq. added for Plaintiff Steven Barlow
"09/01/20 16 Attorney appearance a a

09/01/2016

—

On this date Matthew Shayefar, Esq. added for Plaintiff Steven Barlow

| Case Disposition

| Disposition

Pending

Date Case Judge

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COMMONWEALTH OF MASSACHUSETTS

Suffolk, SS.

Fossa Ltd.,
IcelandicPLUS LLC and Massachusetts Trial Court Division
Steven Barlow Suffolk Superior Court

Case No.

Plaintiffs,
v.
I Jian Lin and .
Encompass Communications, Inc. d/b/a Jury Trial Requested
“BrandIntent”

Defendants.

COMPLAINT AND JURY DEMAND

This is an action for fraud, embezzlement, breach of contract, breach of fiduciary duty
and related causes of action where the Plaintiffs seek damages and other relief for the actions and
omissions of Defendants.

PARTIES

1. The Plaintiff Fossa Ltd. is an Anguilla International Business Company, with
registration number 2328479 with a registered office at Hannah Waver House, The Valley,
Anguilla, British West Indies.

2s The Plaintiff IcelandicPLUS LLC is a Delaware limited liability company with a
registered office at 16192 Coastal Highway, Lewes, Delaware.

a The Plaintiff Steven Barlow is an individual who resides at 665 Washington St.,

PH27i, Boston, Massachusetts 02111 (“Barlow,” and together with the other Plaintiffs,

“Plaintiffs”).

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4. The Defendant IJ Jian Lin is an individual who, on information and belief, resides
at 9 Riverview Heights, Amesbury, Massachusetts 01913, and who has a business address at 18
Graf Road #26, Newburyport, Massachusetts 01950 (“Lin”).

5 Upon information and belief, the Defendant Encompass Communications, Inc.
d/b/a “BrandIntent” is a Massachusetts corporation with its principle office at 18 Graf Road #26,
Newburyport, Massachusetts 01950 (“BrandIntent” and together with Lin, “Defendants”).

6. Upon information and belief, Lin is the sole shareholder, director and officer of
BrandIntent.

FACTS
The Beginnings of the Relationship Between Barlow and Lin

7. Prior to March of 2013, Barlow was a semi-retired entrepreneur and business
investor and Lin engaged in consulting for marketing, brand positioning and strategic planning
through BrandIntent.

8. In or about March of 2013, Barlow and Lin began a close business relationship,
built around mutual friendship, a past working relationship and trust.

9. In or about March of 2013, Lin approached Barlow for some advice about a pet
food business he was involved in named Murr Inc. & Murr Ehf. (collectively, “Murr”) an
Icelandic company and money that was allegedly owed to Lin for services rendered by
BrandIntent for Murr.

10. One of the first new business opportunities that Barlow and Lin pursued together

was in relation to the pet food company Murr.
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11. After much discussion with Lin about Murt’s business throughout March 2013
and meeting the Murr CEO and owner Einar Tamimi in April 2013, Barlow was invited to enter
into a consulting agreement with Murr, which was executed on May 01, 2013.

12. Among other activities, Barlow and Lin intended to try to sell Murr pet food
products in the United States and elsewhere.

13. From the onset Barlow opted out of being a “money investor” in Murr and kept
his role as strictly consultative and to be solely compensated through commissions from the
proceeds of sales of Murr products outside of USA.

14. After some months of building the Murr business, Barlow and Lin pursued third-
party investors to finance Murt’s growth strategy. During this time and during negotiations for a
multimillion dollar investment and due diligence process Mr. Tamimi halted his financial
support for Murr’s United States operations. After this Barlow made his first visit to Iceland and
met with all Murr business partners and vendors. It became clear that Murr & Mr. Tamimi owed
monies to many parties. Barlow and Lin then organized and effectuated a Murr bankruptcy on
behalf of all Murr creditors.

15. Following the initiation of the bankruptcy proceeding, Mr. Tamimi convinced the
Icelandic court that he personally owned the brand name “Murr” and all IP relating to the
formulas of Murr’s dog and cat food. This derailed the plans for Barlow and Lin and all creditors
to reorganize and finance Murr for ongoing operations and profits.

16. | When Mr. Tamimi stopped funding Murr’s United States activities Lin
approached Barlow to provide “bridge loans” to Lin and BrandIntent so that he could keep the
company afloat in an effort to sell the USA based Murr inventory in hopes to recover monies for

all Barlow’s loans and the efforts Barlow and Lin expended on Murrt’s behalf. Barlow agreed to
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loan monies to Lin and BrandIntent with the terms that he would get the first money out from
any sales and 50% of the sales proceeds beyond the repayments of all Barlow loans. The net
amount of loans made Defendants in the furtherance of these sales opportunities was
approximately $91,000. Attached hereto as Exhibit 1 is documentation showing some of the
loan payments Barlow made to BrandIntent.

17. Generally, Barlow agreed to loan and finance Lin’s Murr related business
expenses while engaged in business activities that would result in the sale of Murr products that
were stored in Murr’s United States warehouses and in Canada.

18. Barlow loaned considerable sums in connection with the pursuit of the Murr
business opportunity, giving Lin the opportunity to connect with individuals within Murr and
persons who were interested in purchasing Murr products and partners and vendors in USA,
Iceland, Canada, China, and elsewhere and otherwise create business connections that were
intended to be to be for the benefit of both of them.

19. Barlow loaned Defendants approximately $91,000 of his own money in
connection with the Murr business opportunity.

20. In the aftermath of the Murr bankruptcy, Barlow and Lin generally agreed that
they would together pursue various other business opportunities beyond Murr. Their intent was
that Barlow would provide funding as loans for these new business opportunities and provide his
considerable business wisdom on a limited time basis and Lin would find business opportunities
and operate and manage them as a full time executive.

21. After some time, Lin informed Barlow that the Murr business opportunity to sell
the Murr product inventory was not going to be feasible, and Lin stated that he needed to dispose

of it so that Barlow and Lin could move onto other new opportunities together.

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22. However, as detailed below, Barlow later discovered that Lin sold Murr products
to Chinese purchasers and did not account to Barlow for the sale and took all of the proceeds for
personal gain.

Formation of Fossa Ltd

23. Inor about the summer of 2014, Barlow and Lin identified another business
opportunity involving collecting and/or purchasing natural products from Iceland for sale in the
United States, Canada and elsewhere, which they agreed to pursue together through new
business entities they would form together.

24. The business entity which they formed to pursue the Icelandic business
opportunities in Iceland was the Plaintiffs Fossa Ltd..

25. Barlow and Lin also formed the Plaintiff IcelandicPLUS LLC, which does
marketing support, assembly, warehouse storage and logistics for the Icelandic products in the
United States and elsewhere.

26. Fossa Ltd. and IcelandicPLUS LLC and their businesses are collectively referred
to herein as “Fossa.”

27. Barlow and Lin are each 50% ultimate beneficial owners of Fossa.

28. Barlow and Lin are each officers and/or managers of Fossa.

29. Prior to, during and after the incorporation of Fossa on or about November 04,
2014, including during its operations, Barlow has loaned Fossa significant amounts of money in
order to fund Fossa and its business and operations.

30. Barlow has loaned at least $692,000 to Fossa since its inception.

31. Lin was permitted to use these funds only under the conditions that he use them

reasonably and only for purposes that advanced the interests of Fossa and its business.

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32. Lin was not permitted to use these funds for any personal purposes or for the
benefit of BrandIntent or any other businesses of Lin.

33. Between August of 2014 and July of 2015, Barlow estimates that he loaned
approximately $435,000 to Fossa by payments to BrandIntent’s bank accounts at TD Bank (see
“Expense Practices” below). Outside these periods, Barlow has invested significant additional
funds.

34. Lin was only permitted to use Fossa’s funds (i.e., the funds loaned by Barlow) for
meals and other per diem purposes while he was travelling to Iceland for Fossa as well as direct
business expenses of Fossa.

35. Lin and Barlow agreed that any of Fossa’s revenues shall first be used to pay back
Barlow’s loans to both Fossa and the Murr project before making any other distributions.

36. Until such time as Barlow recovered his loans, Lin and Barlow also agreed that
Lin would not cause Fossa to take any actions outside the ordinary course of business, including
by impairing the value of the assets of Fossa or otherwise interfering with the assets, goodwill or
business of Fossa.

Expense Practices

37. Through at least July of 2015, Barlow and Lin agreed that, for ease and until the
appropriate bank accounts could be set up, Fossa’s expenses would be paid through BrandIntent’
bank accounts, credit cards and debit cards and that Barlow and/or Fossa would reimburse
BrandIntent for the Fossa expenses (only) upon Lin’s request.

38. Through at least July of 2015, Lin would charge Fossa’s expenses to BrandIntent

and regularly request Barlow and/or Fossa to pay BrandIntent for the expenses.

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39. | When Lin would request payment for what he claimed were Fossa’s expenses,
Lin would not provide detailed expense reports, bank records or receipts — but he would instead
only provide broad categories of expenses and the purported amounts and request that Plaintiffs
repay him.

40. A few examples of Lin’s explanations of expenses are attached hereto as Exhibit
2 (email from Lin dated September 2, 2014), Exhibit 3 (email from Lin dated September 8,
2014), Exhibit 4 (email from Lin dated January 22, 2015), and Exhibit 5 (email from Lin dated
February 17, 2015).

41. It was not until Plaintiffs gained access to BrandIntent’ bank records that
Plaintiffs discovered that Lin had been providing fraudulent explanations for his expenses and
reimbursement requests and that Plaintiffs had been paying Defendants for what were Lin’s
personal expenses or expenses otherwise not related to Fossa.

42. Upon review of the bank records, it became apparent that Lin was requesting
reimbursement for the entirety of BrandIntent’ credit and/or debit card charges and expenses, and
that the credit and/or debit card charges and expenses did not match up with what Lin told
Plaintiffs he was spending the money on.

43. To the contrary, Lin told Plaintiffs that he spent money on Fossa related expenses
(for example, he said he was purchasing lamb horns and business related products and services
for Fossa), but in fact he was spending much of that money on other items and services that were
completely irrelevant to Fossa and were solely for Lin’s personal benefit or his personal
businesses.

Defendants’ Embezzlement and Misuse of Funds

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44. Starting at the latest in May of 2014, Defendants began to embezzle and misuse
Plaintiffs’ funds.

45. Plaintiffs (by reimbursing Defendants) have expended approximately $458,000
just in the time period from August 2014 through July 2015. (Fossa’s total expenses since its
inception have been at least $1,175,000.)

46. After extensive research of Defendants’ records, Plaintiffs have calculated that
only approximately $289,000 of that $458,000 amount was spent by Defendants on clear and
reasonable purposes related to Fossa’s business.

47.  Proportionately, this means that up to 37% of all putative expenses of Fossa
between August 2014 and July 2015 were actually misappropriated by Defendants for their own
personal use and benefits.

48. Plaintiffs have calculated that Defendants spent approximately $116,000 of the
$458,000 (i.e., 25%) on what are clearly personal purposes or purposes completely unrelated to
Fossa.

49.  Ofthe remaining approximately $53,000 of the $458,000 (i.e., 12%) Plaintiffs
cannot at this time determine whether they were legitimate Fossa business expenses or otherwise.

50. The following are only a sampling of Defendants’ personal or non-Fossa expenses
for which Plaintiffs reimbursed Defendants, none of which were for Fossa business reasons:

a. On August 26, 2014, Defendants paid $650.00 to Gus’s Bike Shop in North

Hampton, New Hampshire, for which Plaintiffs reimbursed Defendants. See
Exhibit 6 hereto, portion of BrandIntent bank statement from August 2014, Also
clearly visible in Exhibit 6 are numerous other non-Fossa related expenses for

which Defendants received money from Plaintiffs.
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b. On August 27, 2014, Defendants paid $590.00 to Kaizen Tuning, a custom
automotive shop in Boxborough, Massachusetts, for which Plaintiffs reimbursed
Defendants. See Exhibit 6 hereto, portion of BrandIntent bank statement from
August 2014. Also clearly visible in Exhibit 6 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

c. On September 9, 2014, Defendants paid $1,225 to Papa Wheelies in Portsmouth,
New Hampshire, which is a bicycle shop, for which Plaintiffs reimbursed
Defendants. See Exhibit 7 hereto, portion of BrandIntent bank statement from
September 2014. Also clearly visible in Exhibit 7 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

d. On September 12, 2014, Defendants paid $2,269.94 to Gus’ Bike Shop in North
Hampton, New Hampshire, for which Plaintiffs reimbursed Defendants. See
Exhibit 8 hereto, portion of BrandIntent bank statement from September 2014.
Also clearly visible in Exhibit 8 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

e. On September 15, 2014, Defendants paid $232.55 to the Shabu Zen restaurant in
Allston, Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit
9 hereto, portion of BrandIntent bank statement from September 2014. Also
clearly visible in Exhibit 9 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

f: On October 20, 2014, Defendants paid $81.91 to Blue Lagoon Verslun Grindavik
ISL Cosmetic Store in Iceland, for which Plaintiffs reimbursed Defendants. See

Exhibit 10 hereto, portion of BrandIntent bank statement from October 2014.
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Also clearly visible in Exhibit 10 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

g. On November 17, 2014, Defendants issued a check in the amount of $5,600 using
Fossa’s funds without any cognizable legitimate business purpose. See Exhibit 11
hereto, portion of BrandIntent bank statement from November 2014. Also clearly
visible in Exhibit 11 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

h. On December 22, 2014, Defendants paid $365.60 to Bassler Veterinary Hospital

in Salisbury, Massachusetts, $227.86 to the Coach store in Kittery, Maine and

$91.98 to the Aldo store in Burlington, Massachusetts, for all of which Plaintiffs
reimbursed Defendants. See Exhibit 12 hereto, portion of BrandIntent bank
statement from December, 2014. Also clearly visible in Exhibit 12 are numerous
other non-Fossa related expenses for which Defendants received money from

Plaintiffs.

On February 3, 2015, Defendants paid $12.29 to the Dunkin Donuts in Amesbury,

Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit 13

hereto, portion of BrandIntent bank statement from February 2015. Also clearly

visible in Exhibit 13 are numerous other non-Fossa related expenses for which

Defendants received money from Plaintiffs.

On April 17, 2015, Defendants paid $111.47 to Bed Bath and Beyond in Danvers,

Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit 14

hereto, portion of BrandIntent bank statement from April 2015. Also clearly

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visible in Exhibit 14 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

k. On May 11, 2015, Defendants paid $640.56 via PayPal to Tiretrack, a tire

company, for which Plaintiffs reimbursed Defendants. See Exhibit 15 hereto,

portion of BrandIntent bank statement from May 2015. Also clearly visible in

Exhibit 15 are numerous other non-Fossa related expenses for which Defendants

received money from Plaintiffs.

On June 22, 2015, Defendants paid $182.01 to Shio Japanese Restaurant in

Portsmouth, New Hampshire and $247.00 via PayPal to Vollkommend in San

Jose, CA for car parts, for which Plaintiffs reimbursed Defendants. See Exhibit

16 hereto, portion of BrandIntent bank statement from June 2015. Also clearly

visible in Exhibit 16 are numerous other non-Fossa related expenses for which

Defendants received money from Plaintiffs.

m. On June 29, 2015, Defendants paid $168.00 to the Lululemon Athletica clothing
store in Natick, Massachusetts, for which Plaintiffs reimbursed Defendants. See
Exhibit 17 hereto, portion of BrandIntent bank statement from June 2015. Also
clearly visible in Exhibit 17 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

n. On July 14, 2015, Defendants paid $235.48 to the Cole Haan store in Kittery,
Maine, for which Plaintiffs reimbursed Defendants. See Exhibit 18 hereto,
portion of BrandIntent bank statement from July 2015. Also clearly visible in
Exhibit 18 are numerous other non-Fossa related expenses for which Defendants

received money from Plaintiffs.

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oO. On July 23, 2015, Defendants paid $3,976.52 to B&H Photo in New York, for
which Plaintiffs reimbursed Defendants. See Exhibit 19 hereto, portion of
BrandIntent bank statement from July 2015. Also clearly visible in Exhibit 19 are
numerous other non-Fossa related expenses for which Defendants received money
from Plaintiffs.

51. Attached hereto as Exhibit 20 is a spreadsheet setting forth Defendants’ non-
Fossa expenditures in detail.

52. | Oninformation and belief, Defendants would regularly make checks out to cash
or send wires or make other untraceable payments, which Lin explained to Barlow and Fossa as
being for business purposes, but were instead were for his own personal use or non-Fossa uses

53. Defendants’ expenditures of Plaintiffs’ funds for illegitimate purposes only began
to slow down after Plaintiffs instituted strict accounting procedures and put in spending controls.
Lin’s Unreasonable Expenses

54. Even Lin’s expenses which conceivably could have been classified as business
expenses were unreasonable and indicate abuse.

55. For example, Lin spent an average of approximately $161.00 per day for business
meals while on his trips to Iceland.

56. The following are just a few examples of the extraordinarily expense meals
expensed by Lin on his business trips to Iceland: $390.00 at Rub 23 Akureyri on October 10,
2014; $385.57 at Fiskmarkadurinn Reykjavik on October 20, 2014; $263.99 at Fiskfelagid
Reykjavik on December 11, 2014; and $469.23 at Studio Braud Kopavogur on February 13,

2015.

12
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57. Barlow, on the other hand, spent an average of approximately $80.00 per day for
business meals while on his trips to Iceland.

58. On information and belief, Lin’s children and others travelled with him on his
business trips to Iceland, and Lin charged much of their expenses to Fossa.

Other Persons Were Using Lin’s Business Credit Card for Personal Expenses

59. | On information and belief, Lin would provide BrandIntent’ debit card to his
family and/or friends to use for their own personal purposes, for which he would later be
reimbursed by Plaintiffs.

60. Lin travelled to Iceland for Fossa’s business from February 2, 2015 through
February 13, 2015. See Exhibit 21 hereto, a portion of BrandIntent’ bank records showing Lin’s
expenses in Iceland during this time period, including, for instance, a $95.00 charge for airport
transportation on February 2, 2015 and charges in Iceland starting thereafter.

61. In that same time period that Lin was in Iceland from February 2 to 13, 2015,
there were numerous charges on BrandIntent’ debit card to businesses in the United States,
totaling over $1,000.00. Some of those expenses include $17.38 to Pet City in Seabrook, New
Hampshire on February 3, 2015 and $43.11 to the CVS in Amesbury, Massachusetts on February
12, 2015. See Exhibit 21.

62. Lin travelled to Iceland for business from July 1 through July 14 of 2015. See
Exhibit 22, a portion of BrandIntent’ bank records showing Lin’s expenses in Iceland during this
time period

63. Despite being in Iceland at that time, on July 13, 2015, there were at least $779.77
of charges to Fossa’s account from clothing stores in the Kittery Outlet Mall in Kittery, Maine.

See Exhibit 22.

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64. Defendants were reimbursed for all these US expenses while Lin was travelling in
Iceland — expenses that could not possibly have been related to Lin’s work for Fossa.

Lin Intentionally Failed to Respond to Explanations

65. Starting at the latest in January of 2015, Barlow began questioning Lin about his
expenditures on the business.

66. For example, on January 20, 2015, Barlow emailed Lin the following: “I know
you are working very hard and making great progress. I need to have a better understanding of
the spending to date and going forward. Please send me details on the following....”” The Email
then listed 12 wire transfers totaling over $40,000.00. Barlow explained that he did “not have
unlimited funds for keeping Fossa afloat and I am getting a bit concerned.” See Exhibit 23
hereto.

67. Lin never provided all of the information requested in that email.

68. On February 16, 2015, Barlow sent another email to Lin asking for details on the
previous 12 wire transfers as well as another 7, to which Lin never responded with all of the
information requested. See Exhibit 24 hereto.

69. Barlow, and eventually the bookkeeper that Fossa hired, sent emails of this sort to
Lin on nearly a monthly basis, which Lin largely ignored. See, for example, Exhibit 25 and
Exhibit 26.

Lin Misappropriates Iceland Grant Money

70. Onor about June 1, 2015, the Icelandic development agency Vaxtasamningur

Vestfjarda deposited $2,743.96 into BrandIntent’s bank account. See Exhibit 27 hereto.

71. On information and belief, this was a grant for Fossa.

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72. Defendants never reported this income that was due to Fossa to Plaintiffs and Lin
did not send this revenue to Barlow as he agreed, given the enormous debt that Fossa had to
Barlow and that all revenues would first be paid to Barlow.

Lin’s Collusion to Usurp Fossa Opportunities with Gordon Shaw and Shiran K. borisson

73. One of Fossa’s important business contacts in Iceland was an individual by the
name of Shiran K. Périsson (“Mr. Périsson”’), with whom Lin created a business relationship
under Fossa’s name and using Fossa’s funds.

74. — In July of 2015, Lin began working with Mr. Porisson to bring a potential
business affiliate, a venture capitalist named Gordon Shaw (“Mr. Shaw”), to Iceland to begin
work on other projects in Iceland.

75. Although the business with Mr. Shaw was a Fossa business opportunity, Lin
worked with Mr. bérisson to usurp the business opportunity for himself and BrandIntent.

76. In an email dated July 28, 2015, Lin wrote to Mr. Périsson and stated that Mr.
Shaw “really wants to see what I am up to and what interests me in Iceland but mostly he is
investing in me and my vision here,” indicating that he was meeting with Gordon for his own
personal purposes. See Exhibit 28 hereto.

77. | However, his entire business trip to Iceland when he met with Mr. Shaw was paid
for by Fossa.

78. In December of 2015, Lin took a family trip to Iceland, which he described to Mr.
borisson in an email dated December 14, 2015 as “a stealth trip so we will not be telling
anyone.”

79. Despite it being a family trip and a “‘stealth trip,” Lin expensed the trip to Fossa

and did not tell Barlow about the trip or its purposes. On information and belief, Lin used this

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and other trips as a means to build up his non-Fossa business in Iceland and to usurp Fossa’s
business opportunities.

80. In December of 2015, Lin gave a key to the apartment that Fossa had rented in
Iceland for Fossa purposes only to Mr. Périsson for Mr. Périsson’s personal use and without
telling Barlow or accounting for such use to Plaintiffs.

Lin Misappropriates Fossa’s Fish Skin Project

81. Soon after the formation of Fossa, Barlow and Lin discussed and had plans to
expand the business of Fossa from its initial product of lamb horns to other items sourced from
Iceland, including fish skins and fish related products.

82. Barlow and Lin had numerous conversations over many months about Fossa
purchasing and selling the fish skins. See, for example, Exhibits 29-31, emails from Lin to
Barlow regarding progress on the fish skin project (with irrelevant and confidential business
communications omitted) and photos of Lin visiting fish skin suppliers.

83. Barlow and Fossa expended time, resources and funds working on the fish skin
business.

84. Lin originally approached other parties to work on the fish skin project under the
Fossa name and using Fossa funds.

85. After Lin created these connections and the groundwork under Fossa, Defendants
usurped the business opportunities, and sought to have money that should have been paid to
Fossa for the project paid to BrandIntent instead.

86. In an email thread dated December 30, 2015 with Mr. Porisson, Mr. Porisson
emailed Lin at his Fossa email address with documents listing Fossa as the entity working on the

fish skins project. See Exhibit 32 hereto.

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87. Lin emailed Mr. borisson back and stated, falsely and fraudulently, that “it was a
BrandIntent project and not a Fossa project.” Exhibit 32.

88. Lin thereafter executed documents for the project in his own and BrandIntent’
name rather than in Fossa’s name, taking the business opportunities that were meant for Fossa.
See Exhibit 33 hereto.

89. | Upon information and belief, Lin personally received $32,590 for usurping the
fish skins project that should have been Fossa’s. See Exhibit 33 hereto.

90. Lin purposefully hid from Plaintiffs Defendants’ transactions relating to the fish
skins and the funds.

Defendants Sold Murr Products Without Including or Informing Barlow

91. | As noted above, Barlow and Lin were partners in the Murr project, with Barlow
fronting significant funds as loans towards that project.

92. Barlow and Lin agreed that any revenue realized from the Murr project would
first be used to repay Barlow’s loans into the project before splitting profits between them.

93. In March of 2014, Barlow and Lin discussed a potential deal where they would
sell Murr products to China.

94. Lin told Barlow that the China deal could not be completed.

95. However, Lin completed the deal without telling Barlow and, on May 21, 2014,
Lin received $46,130 for selling Murr products in China. See Exhibit 34, a portion of
BrandIntent’ bank statement showing incoming wire from Zenwotronic Enterprises Co., a
Chinese retailer of pet products.

96. Attached hereto as Exhibit 35 is also a screenshot of a website from China selling

Murr products in China that were sold to it by Lin.

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97. Lin never told Barlow about the sale and never shared any of the revenue from the
sale with Barlow.

98. Defendants purposefully hid the sale of the Murr products from Barlow and kept
the proceeds, which should have been paid to Barlow.

Additional Factual Allegations

99, In an email on or about September 18, 2015, Lin admitted to a contractor for
Fossa, Omar Mar Jonsson, that the records he has been providing Barlow for his expenses were
incorrect. Specifically, he wrote: “The record I have for Steve [Barlow] does not match aureus
Icelandic record.” See Exhibit 36.

100. Defendants purchased certain physical items and property to be used in Fossa’s
business and warehouse in the United States, for which Plaintiffs reimbursed Defendants. After
those items and property were delivered to the warehouse, Lin over time entered the warehouse
and took the items and property, which he converted for Defendants’ use. Those items and
property include, without limitation, fish skin samples, horns, marrow products, lamb skins, horn
knives, furniture, a saw/buffer, a label printer, an iPad and an iPhone. Those items and property
have not been returned.

101. In or about July of 2015, when Fossa implemented stricter accounting and
bookkeeping procedures, which had the effect of limiting Lin’s ability to further embezzle and
misuse funds, Lin began to complain about health problems, which he used as an excuse to stop
responding to requests to explain his questionable activities. On information and belief, Lin was
overstating the suffering from his health problems and continues to do so to date for effect.

102. All told, Plaintiffs estimate that Defendants have damaged Plaintiffs in an amount

of at least $200,000 to $250,000, though the exact amount may be greater and cannot be

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determined as a result of the actions and omissions taken by Defendants to hide their activities.
This amount is calculated as follows: $116,000 of personal and non-Fossa expenses charged to
Plaintiffs, plus the $2,743.96 grant from Vaxtasamningur Vestfjarda that Defendants kept for
themselves, plus $46,130 from the sale of Murr products that Defendants kept for themselves,
plus $32,590 in funding for the fish skin project that Defendants kept for themselves, plus up to
$53,000 of additional expenses which Plaintiffs cannot at this time determine are legitimate
Fossa expenses.

103. Additionally, on information and belief, Defendants inflated the costs of
legitimate expenses and wages for personnel of Fossa and skimmed cash off the top of those
expenses and wages, which they kept for themselves. Plaintiffs at this time cannot determine the
amount of such monies embezzled by Defendants.

COUNT I

Breach of Fiduciary Duty
Plaintiffs against Lin

104. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

105. Lin, as a partner to Barlow and as an officer of Fossa, owed a fiduciary duty to
Plaintiffs.

106. Lin breached his fiduciary duty by engaging in the acts and omissions set forth
herein.

107. In consideration of the above facts and circumstances, to the extent that demand
would be required, demand on the management of Fossa would be futile.

108. Plaintiffs have suffered direct harm and damages from Lin’s breaches of fiduciary

duties for which Lin is personally liable.

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COUNT II
Breach of Contract

Plaintiffs against Lin

109. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

110. The Parties made several agreements between themselves regarding their
relationships and business opportunities.

111. Without limitation, Barlow and Lin agreed that any activities relating to Murr
would be a joint project between them and that any revenues from that project would first go to
paying back Barlow’s loans.

112. Without limitation, Barlow, Lin and Fossa agreed that Barlow’s loans in Fossa
would be used only for Fossa purposes and not for Lin’s personal purposes or other purposes.

113. Without limitation, Barlow, Lin and Fossa agreed that all business opportunities
in Iceland, including any business opportunity relating to fish skins, would be Fossa’s business
opportunities.

114. Without limitation, Barlow, Lin and Fossa agreed that Lin would not take any
action which would cause damage to Fossa’s assets, business or goodwill.

115. Barlow and Fossa have complied with their obligations under the agreements
between the parties.

116. Lin has breached the agreements between the parties, including, without
limitation, by his acts set forth herein.

117. Barlow and Fossa have suffered direct harm and damages resulting from Lin’s
breaches of the agreements, for which Lin is liable.

COUNT III
Unjust Enrichment

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Plaintiffs against Defendants

118. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

119. By engaging in the acts and omissions set forth herein, Defendants have received
benefits to which Plaintiffs are entitled.

120. Under the circumstances described herein, it would be inequitable for Defendants
to retain such benefits without payment for their value to Plaintiffs.

121. Defendants have been unjustly enriched by Plaintiffs and equity and good
conscience require Defendants to make restitution to Plaintiffs for the benefits that Defendants
have inequitably retained from Plaintiffs.

COUNT IV

Fraudulent Misrepresentation
Plaintiffs against Defendants

122. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

123. Defendants made numerous misrepresentations to Plaintiffs with the intention that
Plaintiffs would rely upon them.

124. Without limitation, Lin represented to Barlow that he would use any of the
revenues from the Murr project to first pay back Barlow’s loans and then he would share the
profits with Barlow.

125. Without limitation, Defendants represented to Plaintiffs that they would use
Barlow’s loans in Fossa only for Fossa business purposes and not for any personal or other

purposes.

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126. Without limitation, Lin represented to Plaintiffs that the business activities he was
engaging in in Iceland and elsewhere were for the benefit of Fossa, and not for his own personal
benefit or the benefits of others, including BrandIntent.

127. Without limitation, Defendants represented to Barlow and Fossa that the expenses
they requested reimbursements for were for Fossa’s business purposes only and not for any other
purposes.

128. Defendants’ representations were false and Defendants knew them to be false
when they made them or they made recklessly without knowledge of their truthfulness.

129. Defendants made the false representations with the intent that Plaintiffs would
rely on them.

130. Plaintiffs justifiably relied on the false representations, including by, without
limitation, investing further funds in Fossa, making payments to Defendants and permitting
Defendants to continue to spending Plaintiffs’ funds.

131. Asadirect result, Plaintiffs have suffered harm and damages for which
Defendants are liable.

COUNT V
Embezzlement

Plaintiffs against Defendants

132. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

133. Defendants have dishonestly withheld and/or taken funds and other property from
Plaintiffs, the true owners of the funds and other property.

134. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items

and property.

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135. Defendants have acted with the intent to deprive Plaintiffs of their rights to
possess and use the funds and other property for Defendants’ use.

136. Defendants’ acts have directly caused Plaintiffs damages and harm for which
Defendants are liable.

COUNT VI
Conversion

Plaintiffs against Defendants

137. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

138. By engaging in the acts and omissions set forth herein, Defendants have
converted Plaintiffs’ property, including funds and other property, for their own use,
intentionally and without consent.

139. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items
and property.

140. Defendants’ actions and omissions have caused direct damages and harm to
Plaintiffs for which Defendants liable.

COUNT VII

Civil Conspiracy
Plaintiffs against Defendants

141. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

142. Defendants devised and engaged in a common design with other parties,
including, on information and belief, other employees and contractors of Fossa and BrandIntent

(including, without limitation, Mr. bérisson) and Lin’s children and other parties whose

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identities are only known to Defendants at this time (collectively, the “Conspirators”), one or
more of whom, on information and belief, reside in Iceland, to commit wrongful acts.

143. As described herein, Defendants committed tortuous and other wrongful acts in
furtherance of the common design of the Conspirators.

144. Without limitation, Defendants and the other Conspirators engaged in acts and
omissions in a common design to embezzle funds and other property from Plaintiffs.

145. This conspiracy has caused direct harm and damages to Plaintiffs for which
Defendants are liable.

COUNT Vill

Accounting
Plaintiffs against Defendants

146. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

147. As set forth in detail herein, Defendants have committed fraud and other illicit
acts against Plaintiffs.

148. As part of the fraud and other illicit acts, Defendants have concealed their
wrongful acts from Plaintiffs.

149. Plaintiffs are unable to ascertain the full extent of their damages without a full and
complete accounting of the benefits Defendants have derived from Plaintiffs.

150. Plaintiffs require a full and complete accounting of Defendants’ assets and
finances to determine their damages.

151. Plaintiffs do not have an adequate remedy at law and are entitled to equitable
relief in the form of an accounting by Defendants.

COUNT Ix
Violation of RICO, 18 U.S.C. § 1962(c)

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Plaintiffs against Defendants

152. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

153. Defendants have acted in concert with the other Conspirators to violate the civil
RICO statute and have thereby caused damages to Plaintiffs.

154. The Conspirators have assisted, aided and abetted Defendants in many of their
acts and omissions set forth herein.

155. The association of the Conspirators constitutes an enterprise within the meaning
of 18 U.S.C. § 1961(4), which enterprise was engaged in, and whose activities affected, interstate
and foreign commerce. The enterprise was and is continuous in that it lasted for at least one
year, has an ascertainable structure and is distinct from the predicate offenses alleged herein.

156. Upon information and belief, the role of each of the Conspirators is as follows:

a. Lin was the head of the Conspirators and is responsible for gaining access to

Barlow and Fossa’s funds and resources for use by the other Conspirators.

b. BrandIntent were the corporate entity through which the illegitimate transactions
flowed.
c. Lin’s children knowingly received funds and other goods and services by way of

Lin’s embezzlement and other bad acts and held them for their own and Lin’s use.
d. Shiran Porisson was Lin’s contact and conspirator based in Iceland who helped
him engage in business dealings in Iceland when he couldn’t be there physically

himself and who otherwise assisted Lin in his activities.

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€. Fossa’s employees and/or contractors were responsible for keeping Barlow and
Fossa from learning about the true dealings of Defendants and the Conspirators,
hiding important information and providing false information.
157. The Conspirators are each a person within the meaning of 18 U.S.C. § 1961(3)
and are each separate from the enterprise.
158. The Conspirators’ scienter is clearly established from their pattern and practices
alleged herein.
159. Each Conspirator participated and conspired with the other Conspirators to
participate in the affairs of the aforementioned enterprise through a pattern of racketeering
activity, as set forth more fully below, all in violation of 18 U.S.C. § 1962(c).

Wire Fraud, violation of 18 U.S.C. § 1343

160. The Conspirators, having devised or intending to devise a scheme or artifice to
defraud and/or obtain money or property by means of false or fraudulent pretenses,
representations or promises, transmitted or caused to be transmitted, writings, signs, or signals by
means of wire communications in interstate or foreign commerce for the purpose of executing
such scheme or artifice.

161. The Conspirators have engaged in the predicate acts of wire fraud in violation of
18 U.S.C. § 1343 by sending emails, text messages, initiating telephone calls and engaging in
other communications over the wire communications of interstate commerce. The full extent of
the wire fraud and other predicate acts by the Conspirators is unknown to Plaintiffs at this time.

162. The Conspirators have engaged in the following partial list of predicate acts of

wire fraud in violation of 18 U.S.C. § 1343:

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a. On January 15, 2015, Lin sent Barlow an email explaining the status of his
ongoing business trip to Iceland (which was expensed to Fossa), including
information about how he visited an automated fish skin production facility for
pet chews, which Lin indicated would be a business opportunity for Fossa. See
Exhibit 31. However, it was Lin’s intention (as he later accomplished) to take
that business opportunity for himself after using Fossa’s funds to explore it.

b. On January 17, 2015, Lin sent Barlow an email stating that “Fish skin is dead.”
However, Lin instead took the fish skin project on as his own. See Exhibit 37.

G On numerous occasions, Lin sent emails to Barlow requesting additional funding
and setting forth budgets for what he said were business expenses, but which
Plaintiffs now understand were largely for personal expenses. Lin sent such
emails on September 2, 2014 (Exhibit 2), September 8, 2014 (Exhibit 3), January
22, 2015 (Exhibit 4), February 17, 2015 (Exhibit 5) and beyond.

d. In the September 13, 2014 email, Lin stated that “I have been very strict and
careful on spending the cash and at times overly stressed about it. As you know
that I will not spend any funds unless it is necessary.” See Exhibit 38 (irrelevant
portions omitted). To the contrary, on the day before, on September 12, 2014, Lin
spent $2,269.94 of Fossa’s funds at Gus’ Bike Shop in North Hampton, New
Hampshire. See Exhibit 8.

e. On August 3, 2015, Lin responded to an email from Fossa’s bookkeeper, Sonya
Livshits, where the bookkeeper asked Lin to respond to expenses which were
never explained. Lin responded by email that he could not provide explanations

at that time. See Exhibit 39. Upon information and belief, Lin knew what the

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expenses were for but never explained them because they were personal expenses
and he wanted to hide his bad acts. Lin never did explain all the expenses.

f. On December 30, 2015, Lin send an email to Mr. Périsson asking him to change
the business entity on the fish skin project documents from Fossa to BrandIntent.
See Exhibit 32.

g. On or about September 18, 2015, Lin sent an email to a contractor for Fossa,
Omar Mar Jonsson, explaining “The record I have for Steve [Barlow] does not
match aureus Icelandic record.” See Exhibit 36.

h. On or about November 31, 2015, Lin emailed to Barlow and/or Sonya Livshits an
expense report which fraudulently stated that his personal expenses on Fossa’s
account were for business purposes. See Exhibit 40. Furthermore, even some of
those expenses which were purportedly for Fossa’s business and warehouse and
did actually originally appear in Fossa’s warehouse, later disappeared from the
warehouse without explanation. Lin entered the warehouse and took those items
for Defendants’ use and has not returned them.

163. Each Conspirator knew, expected, reasonably foresaw and intended that the

facilities of wire communications would be used in furtherance of the racketeering scheme and

that such use was an essential part of the scheme.

Monetary Transactions in Property Derived from Specified Unlawful Activity,
Violations of 18 U.S.C. § 1957

164. The conspirators knowingly engaged in monetary transactions involving property
valued at greater than $10,000, with the knowledge that the property involved was derived

through wire fraud in violation of 18 U.S.C. § 1343.

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165. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1957. The total number of such unlawful transactions committed by the enterprise is
unknown to Plaintiffs at this time.

166. Plaintiffs only have access to certain of BrandIntent’s bank account records,
which themselves show hundreds of transactions that could not possibly be Fossa-related
business expenses, but only personal expenses or expenses related to other business. Plaintiffs
believe that Defendants may have further documents showing even further use of the monies
derived from their unlawful activities.

Laundering of Monetary Instruments, Violations of 18 U.S.C. § 1956

167. The Conspirators, knowing that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, conducted or attempted to conduct
such transactions with the intent to promote the carrying on of wire fraud in violation of 18
U.S.C. § 1343, or knowing that the transaction was designed in whole or in part to conceal or
disguise the nature, location, ownership or control of the proceedings of wire fraud in violation
of 18 U.S.C. § 1343.

168. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1956. The total number and value of such unlawful transactions committed by the
enterprise is unknown to Plaintiffs at this time.

Pattern of Racketeering Activity

169. The aforesaid acts had the same or similar purposes, results, participants, victims
and/or methods of commission, and were otherwise interrelated by distinguished characteristics

and were not isolated events. The pattern of racketeering activity engaged in by the Conspirators

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consisted of a scheme executed by the aforementioned participants beginning on or before May
of 2013 and continuing to date. That pattern included the multiple predicate acts alleged herein.

170. The Conspirators participated in the scheme through themselves, the participants
identified herein, and others whose identities are unknown to Plaintiffs at this time.

171. Each Conspirator’s participation was essential to the racketeering scheme.

172. The precise role played by each Conspirator is unknown to Plaintiffs at this time
because evidence concerning the full extent of their participation exists exclusively within their
possession and knowledge.

173. Plaintiffs have been injured in their business or property as a direct and proximate
result of the violation of 18 U.S.C. § 1962(c).

174. By reason of this violation of 18 U.S.C. § 1962(c), Plaintiffs are entitled to
recover three times their damages plus interest, costs and attorneys’ fees.

COUNT X

RICO Conspiracy, 18 U.S.C. § 1962(d)
Plaintiffs against Defendants

175. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

176. In violation of 18 U.S.C. § 1963(d), Defendants and other Conspirators conspired
to violate the provisions of 18 U.S.C. § 1962(c) in that, beginning in 2013 or earlier, and
continuing to the present, they knowingly agreed and conspired to conduct or participate, directly
or indirectly, in the affairs of an enterprise through the pattern of racketeering activity described
above. The volume and frequency of the transaction and the continuance of the scheme alleged
herein for over a year could not have occurred without the consent and knowing connivance of

Defendants and the other Conspirators.

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177. As part of and in furtherance of the conspiracy, Defendants agreed to and
conspired in the commission of the predicate acts alleged above, with the knowledge that they
were in furtherance of that pattern of racketeering activity.

178. As part of and in furtherance of their conspiracy, Defendants agreed to and did
commit at least two predicate acts of racketeering.

179. None of the Conspirators has withdrawn or otherwise disassociated himself or
herself from the conspiracy alleged herein.

180. Plaintiffs have been injured in their business and/or property as a direct and
proximate result of the violations of 18 U.S.C. § 1962(d).

181. By reason of these violations of 18 U.S.C. § 1962(d), Plaintiffs are entitled to

recover three times their damages plus interest, costs and attorneys’ fees.

REQUESTED RELIEF

WHEREFORE, Plaintiffs pray that this honorable court will award the following:

A. Enter judgment for Plaintiffs on all Counts of their Complaint;

B. Award Plaintiffs damages and losses as determined at trial, including, without
limitation, actual damages, consequential damages, punitive damages, attorneys’ fees, multiple
damages, interest and costs as provided by law;

C. An order for Defendants to provide a full accounting of their assets and finances
from January 2013 through the present, or for such period as the Court may direct;

D. Award Plaintiffs compensatory damages, treble damages, attorneys’ fees and
costs pursuant to 18 U.S.C. § 1962; and

E. Grant Plaintiffs such other relief as the Court deems just.

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PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES

Dated: August 31, 2016

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Respectfully submitted,
The Plaintiffs,

Fossa Ltd.,
IcelandicPLUS LLC and
Steven Barlow

By theif Attomeys,

~

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Fax: (617) 928-1802

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Exhibit
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Transaction Details
Prepared fo
Steven Barlow

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ee Peace oars

Oct 112013 ENCOMPASS COMMUNICAT@17-733.2706 Steven Barlow

Nov 06 2013 ENCOMPASS COMMUNICATB17-733-2798 Steven Barlow

Nov 21 2013 ENCOMPASS COMMUNICATE ¢7 780-2700 Steven Barlow

HES ety a

Mer21 2014 ENCOMPASS COMMUNICATG17- 739-2788 Steven Bariow

Apr 01 2014 ENCOMPASS COMMUNICAT617-733-2798 Steven Barlow

SOMMAR le an acne ee eee

1 aah
Payments

$7,000.00

"$0.00 .
Pay In Full Charges $68,700.00
Pay Over Time Charges $0.00
Credits $0.00
Total

$68,700.00
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Exhibit
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From: jjianlin07 <jjianlino7?@gmail.com>

Subject: Re: Funding

Date: September 2, 2014 at 3:10:16 PM EDT
To: stevebarlow<steve@barlow. >
Steve,

| transferred funds for the registration and filing for the branch office of Fossa in Iceland the
day | departed for Iceland as we had discussed prior. Without knowing the complexity of
the matter intimately lots of additional expenses were necessary as “on the spot" or "pay as
you go" during the visit here.

The extension and change of flight costs $1590 right away. All guesthouse were sold out
and shiran's office was not able to find hotel vacancy with their rates.

The flying in and out of Isafjurdor was definitely not an expected item but due to timing it
was necessary instead of driving. Then the attorney costs, and the extension of stay maxed
out my card. Tomorrow i have rented a car for the visiting of the other slaughter houses as
well as hotel costs in Reykjavik (entire city sold out, only top 2 hotels are available but at a
premium rate). | estimate | will need $4450 to cover the rest of trip meeting and visiting
slaughter houses and initiate rentals for freezing container and transport. As well as the
deposit for the shop that's currently producing the products for our samples. That's
conservative and tight.

The cost for the labels for product update
| am in meeting now and will try to get you an estimate of operation expenses soon.
Please let me know. Thank you very much.

Sent from my iPhone
I Jian Lin

On Sep 2, 2014, at 3:04 PM, stevebarlow<steve@barlow.name> wrote:

Please send me an accounting of the expenses that you think we will need to fund over the
next few months so that | can prepare the funds.

Also, send me the expenses that you will run against the TD account, Also, after each TD
expense please send me an email for my records. .

We will discuss and work out the funds when you get back. We will need to work out a
payment plan that gets the funding back to me. Thanks.
Regards,

Steve
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From: | Jian Lin <ilin@brandintent.com>
Subject: expense to date from TD
Date: September 8, 2014 at 8:13:12 PM EDT

To: Steve Barlow <steve@barlow.name>, "sbarlow@murrfoods.com Barlow"
<sbarlow@mu com>

$3200 registration and filing

$1550 Attorney preparation in Isafjodur
$3000

- $1600 Ticket penalty

- $400 Bragi Gas and hotel

- $650 Additional 3 day Stay in Reykjavik
- $350. FLight from Isafjurdor (one way)

From TD

[Jian Lin « Brandintent
President, Strategic + Creative Director
iin@brandintent.com

yoww.brandintent.com
(0) +1.978.255.4528 « (c) 617.733.2796
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From: | Jian Lin <jlin@fossaltd.com>
Subject: Catching up and budgetary planning
Date: January 22, 2015 at 4:00:07 PM EST

To: Steve Barlow <sbarlow@fossaitd.com>

Ce: | Jian Lin <ilin@fossaltd.com>, | Jian Lin <ilin@brandintent.com>

Steve,

Finally got a chance to go through the wires and expenses since our last meeting at your
house, | included the forecast and schedule from our last meeting on the bottom of the
email. The first listing are the transfers, wires and other expenses for this visit. There are
immediate expenses pending for us to complete the first shipment to the US, as well as
execute the setup for our own production. IT has been action packed since arrival, | am stiil
suffering form lack of sleep and the sleeping aid just simply stop working at this point. |
have extended another several days here in Reykjavik before | head back to Husavik to wrap
up the remaining tasks of the production facilities including the staffing.

Bragi is back on path after a long meeting with him. His part will be concluded this
weekend, we have formally requested the inspectors from MAST and municipality as well to
come and conduct certification next week. | had a great discussion with Omar about taking
on more responsibilities here as our business manager with increase in compensation. After
the factory set up Bragi will be phased out and down to minimum responsibility and
compensation.

| am negotiating with the container rental company to come to a discounted final billing
with us. | am hoping to arrive at the agreement of payment schedule and discounts.

2 ey

Please review the added status update in RED within the section from our last meeting.

Jan 6 - $324.44

Jan 7 - $1,982.11 (HOFN Slaughterhouse for December 2014 and Jan 201 5)
Jani2 - $4000.00 Bragi .

Jan 13 - $11,513.00 Hanna Horns

Jan 13 - $12,500.00 Final Oven, transport and Electrician work. $2000 minimum balance
requirement in account. To Fossa Enterprises ehf for direct payment

Jan 13 - $4650 First month rent ,Husavik. To Fossa Enterprises ehf for direct payment

Jan 15 - $1024.00 Hotels Akureyri, 4 nights, 4 breakfast. Lin
Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 45 of 195

Jan 15 - $577.16 Domestic Air to Akureyri

Jan 15 - $280.50 (DHL) US Custom and Import Security

Jan 20 _ $228.58 Rub23, dinner with Simmi and Reynir. Nordlenska
Jan 20 - $ 315.66 (DHL) USDA/FDA

Jan 20 - $3247.66 ($1680 Return, 1335.60 Depart, $120 airport shuttle- logan, $112.06
Reykjavik)

Jan 21 - $566.18 Rental Car + Gas

Jan 21 - $575.76 Domestic Flight from Akureyri
Jan 21 - $288.99 Domestic Flight - Omar

Jan 21 - $315.66 Hotel. Akureyri - Omar

Jan 22 - $217.66 Hotel Charges Reykjavik (Arrival)
Jan 22 - $224.19 Hotel Charges Reykjavik (Arrival2)

Jan 22 - $304.19 Filing fees for MAST and MATIS (Icelandic Department of Agriculture for
Animal feeds and Food Safety and Analysis Laboratory)

Due Now

$ 3,812.15 Eimskip Cargo, Reykjavik to Portland.

$ 3000.00 (2 oven racks in stainless steel with high heat spec.)

$ 3600.00 For 4 sets of 12 shelves stainless steel perforated trays (48)

$ 4000.00 Omar

$ 1022.00 SKVH Hvammstangi JAN 2015

$ 981.00 Blonduos JAN 2015

$ 2315.00 Freight Forwarding and logistic services (License, permits, and USDA, US Custom
certifications)

$1686.58 Commercial Liability insurance Policy

1) We will need to buy misc. cleaning supplies and chemicals, including pest control and
Anti-bacteria sprays. These can also be contracted out with the industrial cleaning company
which is bonded and insured. OR we do it ourself with the workers after hour at an added
costs.
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2) Packaging materials for finished products, blue wax-based plastic sheet, in rolls for lining
the cartons for moisture repelling measure. single pack food grade plastic bags to fit 200
horns per bag.

| am waiting for the quotes to come in tomorrow.

From the last meeting:
Current Due:

1) Hanna: $11,513.00 PAID

2) Oven Installation and location electrical: $3490.13 50% PAID

3) Oven conversion and repair total: $4200 (estimated, including the additional
modifications on automation and remote monitoring) PAID,

4) Nordlenska Horn collection and Electricity 9-11/14 $3,964.00

5) HOFN 11-12/14 $1982.11 PAID

6) Container Rental: Total balance with VAT: $12,383.95 (all locations 10-12/14, 3 months
minors previous payments/deposits) This will cover all containers up to date.

7) Facility rental of 3 months ($4628.00/month without insurance) PAID FIRST MONTH
8) Personnels: Bragi and Omar $8000.00 PAID $4000 Already

9) Freight Forwarding and logistic services (License, permits, and USDA, US Custom
certifications) $2315.00 See above for schedule, this is on the receiving end.

Forecast Upcoming:

1) Salaries (3 men, for 3 months) TBD when | am in Iceland. Hiring 3 men to train and
produce the horns

¢ Standard salary for "floor man” in the meat packing is $2400, supervisor or foreman is
$3000.

¢ 30% on top for Contract worker agreement $7800 +30% = $10,140.00

2) Insurance : Waiting for quotes $1686.58 Full liability and equipments

3) Packaging + Commerce Website

4) Travel 3 Trips, Est. 7-10 days each $12000. (see above for itemized charges within this
estimate costs)

5) Storage/Warehousing Est. $6000. (four months)

6) Marrows and Bones from Hanna, Est. $10,to 15. depending on volume.

7) Shipping and Custom clearance: $ 3,812.15

8) Nordlendska Final electricity and labor $1850.00

9) SKVH Final electricy and Labor $1850.00 (DECEMBER+JAN)

10) Transportation for all container to Husavik: $3200.00 (Steve, this needs to happen next
week the latest to avoid charges from individual slaughter houses)

11) The Global Pet Expo in Orlando: March 2015: TBD (Recommend to have a suite and a
party. not a booth. not a good return.
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12) US Labor and workers for repacking the horns and marrows once arrived in the
warehouse: TBD

| Jian Lin + Fossa LTD/Fossa Enterprises, ehf

Executive Director / Founder

P.O. Box 801, The Valley, Angulila, British West Indies Al-2640
Uf .

www. f
usa +1 7.
Iceland +1.354.848.7098
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From: I Jian Lin <iJin@f itd.com>

Subject: RE: XL update
Date: February 17, 2015 at 6:56:35 AM EST
To: stevebarlow low: >

Steve, please note that from the most recent report, the payment to omar had been reduced to
$3000 plus $60 expenses. I budgeted $8000 for March for both was just to cover the expenses
since they will be traveling to Husavik frequently to check the operat I n as well as
manufacturing. I figured this is still check eager for me to go...even I will make two trips before
the end of process which was also budgeted in January 22 report. Next payment to them will be
$3000 base and expenses. Omar is less time consuming during th is coming month but bragi
needs to stay on top of the manufacturing due to QC and dry - matter spot check weekly to make
sure they will not rot in short time sure to moisture in the tip of hom and inside marrow (trapped
between skin and bone).

We are cutting all unnecessary expenses and costs as much as we could. I sent the rack and tray
fabricator an email to use thin aluminium tray bottom instead of stainless steel as per regulation,
but use stainless frames for them. This cuts cost. In addition, we will buy mixed size bags to
pack whenever manufacturer has left overs. This will slow down the packing process due to
measuring the weight and units for each bag before loading.

Staffing will be a problem but I can beg for more time in facility and pay for it vs. Two girls
added to the team.

Steve, please set aside time to meet in Boston, in addition to talk, we need to see the guy in NH
and toronto to excite the Chinese investors.

Driving to Main now, will update progress.

I Jian Lin *« Fossa LTD
Executive Director/Founder
P.O.Box 801, The Valley, Anguilla, British West Indies Al-2640

Ilin@fossaltd.com

www.fossaltd.com

usa +1.617.733.2796

woeneeee Original message --------

From: stevebarlow<sbarlow@fossaltd.com>

Date: 02/17/2015 12:26 AM (GMT-05:00)
To: 1 JIAN <jlin@f com>
Subject: XL update

| Jian:

Here is the updated XL expenses to date. There are a few items that need more detail. We
can go over it tomorrow.
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One question, we are paying $8000 per month ($96k per year) for Bragi and Omar. Are they

both necessary at this pay rate now that things are set up? How many hours a week / month
are they each working? Thanks.
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America’s Most Convanient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page:
Statement Period:
Cust Ref #

5 of 6

Au 12014
Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (contin

POSTING: DATE = (continued) AMOUNT

8/18 DEBIT CARD PURCHASE, AUT 081514 VISA DDA PUR 10.02
SARKU JAPAN 050 BOSTON *MA

8/18 DEBIT CHASE, AUT 081714 VISA DDA PUR 9.00
2 THE JUICERY PORTSMOUTH *NH

8/18 DEBIT C, PURCHASE, AUT 081614 VISA DDA PUR 424
OLD NAVY 6194 NEWINGTON * NH

8/18 NO EE 3,00

8/25 DEBIT CARD PURCHASE, AUT 082114 VISA DDA PUR 130.33
SHERATON TORONTO CAN

826 DEB: PURCHASE, AUT 082514 VISA DDA PUR’ 650.00
GUS BIKE SHOP LLC NORTH HAMPTON * NH

8/27 . DEB: SE, AUT 082514 VISA DDA PUR 590.00

(esa * BOXBOROUGH *MA

8/28 DEB PURCHASE, AUT 082614 VISA DDA PUR 75.39
DORGIN PARK BO10328060 EBOSTON *MA

8/28 DEB E, AUT 082614 VISA-DDA PUR 37.64
BROWN SUGAR BY THESEA NEWBURYPORT *MA

8/29 DEBI URCHASE, AUT 082814 VISA DDA PUR 320.36
a Pa AKUREYRI ISL

8/229 DEBIT PURCHASE, AUT 082714 VISA DDA PUR 214.00

- RUB 23 AKUREYRI . ISL

8/29 DEBIT CARD PURCHASE, AUT 082714 VISA DDA PUR 80.43
VOX RESTAURANT REYKJAVIK ISL

8/29 DEB P SE, AUT 082714 VISA DDA PUR 23.70
BISTRO ATLANTIC REYKIANESBER [SL

Subtotal: 4,807.30

DAILY BALANCE SUMMARY

DATE BALANCE DATE BALANCE

7/31 3,035.25 8/5 2,874.47

8/4 2,954.42 8/6 2,845.84

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America’s Most Convenient Bank®

ENCOMPASS COMMUNICATIONS INC Page:

Statement Period:
Cust Ref #;
Primary Account #:

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STATEMENT OF ACCOUNT

7 of 13

Sep 01 2014-Sep 30 2014

DAILY ACCOUNT ACTIVITY

Electronic Payments (contin

POSTING Da’ 5 ON

9/9 DEBIT CARD PURCHASE, AUT 090714 VISA DDA PUR.
PAPA WHEELIES PORTSMOUTH * NH

9/9 DEB E, AUT 090714 VISA DDA PUR
AGAVE MEXICAN BISTRO NEWBURYPORT * MA

9 oe PURCHASE, AUT 090614 VISA DDA PUR
DUTY FREE STORE REYKJANESBER. 1 SL

9/9 . DEBI . 14 DDA PURCH W/CB
WAL WAL MART STORE 640 FRAMINGHAM *MA

9/9. vale PURCHASE, AUT 090814 VISA DDA PUR
ANGIES FOOD DINERINC NEWBURYPORT * MA

9/9 DEB SE, AUT 090814 VISA DDA PUR
SHUN FENG SEABROOK *NH

9/9 nf EE oo AUT 090714 VISA DDA PUR
OLFY 149 NEWBURYPORT * MA

9/9 pen ee PURCHASE, AUT 090514 VISA DDA PUR
KAFFIVEROLD LAUGAVEGI HAFNARFJORDURI SL

9/9 DEB SE, AUT 090514 VISA DDA PUR

5/9

O19

5/10

S/10

9/10

KAFFIVEROLD LAUGAVEGI HAFNARFJORDURISL

DEBI SE, AUT 090614 VISA DDA PUR
SANDHOLT REYKJAVIK ISL

DEB PURCHASE, AUT 090614 VISA DDA PUR
INTERNATIONAL REYKJANESBER ISL

DEB: CHASE, AUT 090914 VISA DDA PUR
SICHUAN GOURMET II FRAMINGHAM *MA

DEB CHASE, AUT 090914 VISA DDA PUR
WHOLEEDS FRA 10156 FRAMINGHAM * MA

DEB PURCHASE, AUT 090814 VISA DDA PUR
NO 8 KITCHEN SPIRITS AMESBURY *MA

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AMOUNT
1,225.00

64.44
61.73
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29.34
"21,47
19.25
18.15
14.39
11.99
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68.80
63.65

63.23

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i Banik

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC
Statement Period:
Cust Ref #:

Page:
iod: 01 2014-Sep 30 2014
Primary Account #:

8 of 13

DAILY ACCOUNT ACTIVITY
Electronic Payments (continued) .
POSTING DATE DESCRIPTION AMOUNT
9/10 DEBIT CARD PURCHASE, AUT 090814 VISA DDA PUR 40.22
SHELL OTL 57544187800 NEWBURYPORT * MA
9/10 DEBIT POS, A 14DDA PURCHASE 31.48
STAPLES INC SEABROOK *NH
9/10 DEB! CHASE, AUT 090914 VISA DDA PUR 27.65
POLKA DOG BAKERY _ CHESTNUT HILL * MA :
9/11 DEBI SE, AUT 090914 VISA DDA PUR 101.48
ANNEKE JANS KITTERY * ME
o/11 ora ae AUT 091114 DDA PURCH W/CB 65.92
TARGET T2325 HAVERHILL *MA
o/it DEBI CHASE, AUT 090914 VISA DDA PUR 33.95
PRO CUT FRAMINGHAM *MA
9/11 pest ae AUT 091114 DDA PURCHASE 30.38
- STOP SHOP 0499 AMESBURY *MA
9/11 DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR 26.69
‘MORNING BUZZ CAFELLC AMESBURY *MA
9/11 DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR 18.50
SQ THE JUICERY PORTSMOUTH *NH
aaa .
SL DEBIT CARD PURCHASE, AUT 090914 VISA DDA PUR 3.88
DUNKIN 304921 Q35 NEWBURYPORT *MA
(aa ,
9/12 DEBIT CARD PURCHASE, AUT 091114 VISA DDA PUR 2,269,94
GUS BIKE SHOP LLC NORTH HAMPTON * NH
=p
9/12 DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR 53.75
EXXONMOBIL 97501910 AMESBURY *MA
GleesSsSS
9/2 DEBIT CARD PURCHASE, AUT 091114 VISA DDA PUR 25,55
SHAWSHEEN LUNCHEONETTE ANDOVER *MA
(ieee
9/12 DEBIT CARD PURCHASE, AUT 091114 VISA DDA PUR 20.46
MORNING 8UZZ CAFELLC AMESBURY *MA
Gass

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Bak Deposits FDIC insured | TD Bank, N.A. | Equal Housing Lender ff

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Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page: 9 of 13

Statement Period: ; 01 aut 30 2014
Cust Ref #:

Primary Accouct#: aaa

DAILY ACCOUNT ACTIVITY
Electronic Payments (continued) .
POSTING DATE DESCRIPTION AMOUNT
9/15 DEBIT CARD PURCHASE, AUT 091414 VISA DDA PUR 232.55
SHABU ZEN ALLSTON *MA
Sew
Of15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 76.34
NIXS NEWBURYPORT L NEWBURYPORT * MA
a>
9/15 DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR 53.19
EXXONMOBIL 97456214 PORTSMOUTH * NH
. ===>
9/15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR . 49.06
MORNING BUZZ CAFELLC AMESBURY *MA
aaa
O/15 DEBIT CARD PURCHASE, AUT 091414 VISA DDA PUR 46.81
THE GROG RESTAURANT NEWBURYPORT * MA
Paap
ONS DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 44.99
RIVERSIDE CYCLES INC NEWBURYPORT *MA

O15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 42.38
BROWN SUGAR BY THESEA NEWBURYPORT * MA

=a .
o/s DEBIT POS, AUT 091514 DDA PURCHASE 33.21
CVS 01871 FRAMINGHAM * MA
qa .
9/15 DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR 26.03
FM STATION CAFE NEWBURYPORT * MA
aS

9/15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 25.00
PAPA WHEELIES PORTSMOUTH *NH
GSS
5/15 DEBIT CARD PURCHASE, AUT 091114 VISA DDA PUR 2430
PIZZA FACTORY AMESBURY *MA
SS .
9/15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 16.00
SQ THE JUICERY PORTSMOUTH *NH ,
Sees
9/15 DEBIT POS, AUT 091514 DDA PURCHASE 14.96
_ CVS 00361 BOSTON *MA
eS
9/15 DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR 14.67
SQ ATOMIC CAFE NEWBUR NEWBURYPORT *MA

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page: 10 of 14
Statement Period: Oct 01 2014-Oct 31 2014
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued) ,
POSTING DATE DESCRIPTION AMOUNT
10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 310.93
BLUE LAGOON BADSVADT GRINDAVIK ISL
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 253.02
HOTEL NATUR AKUREYRI ISL
10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 243.26
TRAVELOCITY COM 877 270 4536 * WA , :
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 197.43
SJAVARGRILLID REYKJAVIK ISL

10/20 NON /; 5 AT™ —_ AUT 101814 DDA WITHDRAW 168.46

KRINGLUNNI$ 10RVIK REYKJAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101714 VISA DDA PUR 114.76
REYKJAVIK FISH REYKJAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 108.72
ORKAN 617 HAFNARFIORDUR I SL
aa).
10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 8191
BLUE LAGOON VERSLUN GRINDAVIK ISL -

10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 66.63
BLUE LAGOON VERSLUN GRINDAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 51,15
SANDHOLT REYKJAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 43.13
CAFE PARIS REYKJAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101914 VISA DDA PUR 38.87
REYKJAVIK BACKPACKERS EH REYKJAVIK ISL

10/20 DEBIT CARD PURCHASE, AUT 101914 VISA DDA PUR 38,12
PUBLIX 054 MIAMI *FL

aaa
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 28.25
SANDHOLT REYKJAVIK ISL

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America’s Most Conveniant Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page: 3of 10
. Statement Period: Novy 01 2014-Nov 30 2014
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Checks Paid No. Checks: 3 For ontine bill pay customers, checks numbered "992OOXKX" likely represent payments to 2 Bilter that were
dctivered es a paper check. Funds were withicawn from your account whon the check was cashed, You can view
‘these cleared checks in fhe Account History section of Online Banking.
Indicates break in serial xequonce or check processed electronically exd listed under Electronic Payments .
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
11/10 1594 1,730.00 11/24 1598 203.49
11/17 1595 5,600.00 11/21 1599 209.77
11/26 1597* 400.71
Subtotal: 8,143.97
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
11/3 CCD DEBIT, ACCT FEE INTUITPMTS 19.95
11/4 DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR 107.83
WEATHERVANE SEAFOOD REST KITTERY *ME
Li DEBIT POS, AUT 110314 DDA PURCHASE ~ 99,99
SOU BEST BUY 535 132 NEWINGTON *NH
114 DEBIT POS, AUT 110314 DDA PURCHASE 30.39
BARNESNOBLE 45 GOSLINGR EWINGTON *NH
. aes
1/4 DEBIT POS, AUT 110314 DDA PURCHASE 7.90
BARNESNOBLE 45 GOSLING R EWINGION *NH
ae .
1M DEBIT CARD PURCHASE, AUT 110414 VISA DDA PUR 63.12
ALE HOUSE AMESBURY *MA
Sa
1/5 DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR 51.28
EXXONMOBIL 97437339 NEWBURYPORT * MA
1145 , DEBIT CARD PURCHASE, AUT 110414 VISA DDA PUR 25.91
FM STATION CAFE NEWBURYPORT * MA
i=,
15 DEBIT CARD PURCHASE, AUT 110414 VISA DDA PUR 11.65
SQ ATOMIC CAFE NEWBUR NEWBURYPORT: * MA
Cmts
11/5 DEBIT CARD PURCHASE, AUT 110414 VISA DDA PUR 3.00
CITY OF PORTSMOUTH NH PORTSMOUTH *NH
ky
1146 DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR 2,156.28
 ICELANDAIR 10835335724 REYKJAVIK ISL
eas» .
1146 ’ DEBIT CARD PURCHASE, AUT 110514 VISA DDA PUR 450.00
CHARLESTOWN DIVISION CHARLESTOWN *MA

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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender tf

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D Bank

America’s Mast Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page: 8 of 11
Statement Period: Dec 01 2014-Dec 31 2014
Cust Ref #:

Primary Account #: aE

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)
POSTING DATE DESCRIPTION * AMOUNT

12/19 DEBIT CARD PURCHASE, AUT 121814 VISA DDA PUR 4798
BECK TAXI TORONTO CAN

ESS
12/22 DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR 646.48
FOUR SEASONS HOTEL VANC VANCOUVER CAN
ainer>
12/22 DEBIT CARD PURCHASE, AUT 121914 VISA DDA PUR 365.60
BASSLER VETERINARY HOSPI SALISBURY * MA
=a
12/22 DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR 227,86
COACH 0004802 KITTERY *ME

Sa

12/22 DEBIT CARD PURCHASE, AUT 121714 VISA DDA PUR 113.06
INTERCONTINENTAL TORONTO CAN
=== .

12/22 DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR 95.00
ANDOVERAIRPORTTR © LAWRENCE *MA
Sap

12/22 DEBIT CARD PURCHASE, AUT 122114 VISA DDA PUR 91.98
ALDOUS 2024 BURLINGION *MA - .
SS

12/22 DEBIT CARD FURCHASE, AUT 122114 VISA DDA PUR 61:29
THE GROG RESTAURANT NEWBURYPORT *MA

SSS
12/22 DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR 56.71
INTERCONTINENTAL TORONTO CAN

12/22 DEBIT CARD PURCHASE, AUT 121814 VISA DDA PUR $2.12
SCACCIA TORONTO CAN
aaa

12/22 DEBIT POS, AUT 122014 DDA PURCHASE 27:01
VAN HEUSEN RETAILDIV KITTERY *ME :

12/23 DEBIT CARD PURCHASE, AUT 122114 VISA DDA PUR 7331
APPLESTORE RISS § BURLINGTON * MA
Gar

12/26 DEBIT POS, AUT 122614 DDA PURCHASE 26.84
WAL MART 1762 SEABROOK *NH
===>

12/29 DEBIT CARD PURCHASE, AUT 122614 VISA DDA PUR 385.21
PAYPAL TOTALCYCLIN 35314369001 GBR
sea

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Bank Deposits FDIC inswed | TD Bank, N.A. | Equal Housing Conder 2

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Bank

ENCOMPASS COMMUNICATIONS INC

America’s Mast Convenient Bank®

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STATEMENT OF ACCOUNT

Page: § of 12
Statement Period: Feb 01 201

Cust Ref #:

Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)
DESCRIPTION

POSTING DATE
2/3

2/3

2/4

2/4

2/4

2/4

2/4

2/5

2/5

2/5

2/5

2/6

2/6

DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR
PET CITY - SEABROOK *NH

DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR
DUNKIN 306337 Q35 AMESBURY *MA

DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR
FREEDOM VOICE SYSTEMS 2 800 477 1477 * CA

DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
VSNIES IP EPERMIT MD IM 866 4577248 * MD
S=SS20

DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
VSNIES IP EPERMIT MD IM 866 457 7248 * MD

DEBIT CARD PURCHASE, AUT 020215 VISA DDA PUR
THE LAUNDROMATCAFE REYKJAVIK ISL
aS
DEBIT CARD PURCHASE, AUT 020215 VISA DDA PUR
VEITINGARHUSID GREIFINN REYKJAVIK ISL
a=
DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
HEIMABAKARI EHF HUSAVIK ISL

Gas
DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
HOTEL KEA EUR AKUREYRI ISL

Saas
DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
KEA VEITINGAR AKUREYRI ISL
anaes
DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR
LEVIS BUDIN GLERARTORGI KOPAVOGUR ISL
CEE
DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR
SOLKUVEITINGAREHF § HUSAVIK ISL
ee
DEBIT CARD PURCHASE, AUT 020515 VISA DDA PUR
HUSASMIDJAN HUSAVIK - HUSAVIK ISL

DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR
HOTELKEA HARPA = AKUREYRI ISL
aD .

AMOUNT
17.38

12.29
10.91
565.00
150.00
99.00
81.13
20.47
173.44
119.39
63.94
43.63
160.83

140.74

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Bank Deposits FDIC insured } TD Bank, N.A_ | Equal Houslog Lender @2

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America’s Mast Convenient Bank® STATBMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page:
Statement Period:
Cust Ref #:

Case 1:16-cv-11914-LTS Document 4

Primary Account #:

Apr 01 2015-Apr 30 2015

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DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE

4/17

4/17

417

4/17

4/17

4/17

4/7

4/20

4/20

4/20

4/20

4/20

Al21

4/21

Cali 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

DESCRIPTION

DEBIT CARD PURCHASE, AUT 041515 VISA DDA PUR
BED BATH BEYOND 350 DANVERS *MA

DEBIT CARD PURCHASE, AUT 041515 VISA DDA PUR
EXXONMOBIL 97441034 DANVERS *MA

DEBIT CARD PURCHASE, AUT 041515 VISA DDA PUR
THE HOLLOW CAFE AMESBURY *MA
=a

DEBIT CARD PURCHASE, AUT 041615 VISA DDA PUR
FM STATION NEWBURYPORT * MA

DEBIT CARD PURCHASE, AUT 041515 VISA DDA PUR
THAI GRILL WN SUSHICAFE 978 5312015 * MA

DEBIT CARD PURCHASE, AUT 041615 VISA DDA PUR
PAYPAL MYCOMMERCE ESELL 402935 7733 * MIN

DEBIT CARD PURCHASE, AUT 041515 VISA DDA PUR
MASTER WOK PEABODY PEABODY ‘*MA

DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR
RESQUOO INC NORTH ANDOVER * MA

GE
DEBIT POS, AUT 041815 DDA PURCHASE
NST BEST BUY 535 031 NEWINGTON *NH

eae
DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR
STARBUCKS CARD RELOAD 800 782 7282 * WA

DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR
THE GROG RESTAURANT NEWBURYPORT * MA

Sana

DEBIT POS, AUT 041815 DDA PURCHASE
CUMBERLAND FARMS 2035 AMESBURY * MA
aaa

DEBIT CARD PURCHASE, AUT 042015 VISA DDA PUR
EL BURRITO INC AMESBURY *MA

DEBIT POS, AUT 042115 DDA PURCHASE
MARKET BASKET 30 SEABROOK *NH

AMOUNT
111.47

35.00
30.25
20.85
10.50
632
438
483.56
164.98
30.00
48.73
33.01
53.40

35.69

Bank Deposits FDIC insured | TD Bank, NA. | Equal Housing Lender ea

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Bank

ENCOMPASS COMMUNICATIONS INC

America’s Mast Convenient Bank®

STATEMENT OF ACCOUNT

Page:

Statement Period:
Cust Ref #:
Primary Account #;

Sof 11

01 2a ae 31 2015

DAILY ACCOUNT ACTIVITY

Electronic P: payments (continu (continued)

POSTING DA’
5/7

5/7

5/8

5/8

5/11

S/H

s/f

5/41

S/N

5/11

5/11

S/11

5/12

5/12.

DEBIT CARD PURCHASE, AUT 050615 VISA DDA PUR
SHUN FENG SEABROOK *NH
QUES)

DEBIT CARD PURCHASE, AUT 050515 VISA DDA PUR

GULF ODL 91801273 AMESBURY *MA

DEBIT CARD PURCHASE, AUT 050515 VISA DDA PUR
NORDSTROM 0531 NATICK *MA

DEBIT CARD PURCHASE, AUT 050615 VISA DDA PUR
THE HOLLOW CAFE AMESBURY *MA

DEBIT CARD PURCHASE, AUT 050815 VISA DDA PUR
PAYPAL TIRERACK 402 935 7733 * IN

DEBIT CARD PURCHASE, AUT 050815 VISA DDA PUR
COMCAST BOSTON CS 1X 8002662278 *NH

DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR
CEIA KITCHEN AND BAR NEWBURYPORT * MA

DEBIT CARD =. AUT 050815 VISA DDA PUR

EXXONMOBIL ° 97446991 WAYLAND *MA

DEBIT CARD PURCHASE, AUT 050815 VISA DDA PUR
EXXONMOBIL 97446991 WAYLAND *MA

DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR
EXXONMOBIL 97456214 PORTSMOUTH *NB

DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR
SQ THE JUICERY PORTSMOUTH *NH

DEBIT POS, AUT 050915 DDA PURCHASE
STONEWALL KITCHEN YORK * ME

DEBIT CARD PURCHASE, AUT 051115 VISA DDA PUR
KANTIN BOSTON *MA

DEBIT CARD PAYMENT, AUT 051115 VISA DDA PUR
THUMBTACK INC 855 846 2825 * CA

AMOUNT
36.17

4.11
45.80
21,93

640.56
170.85
144.67
3 6.49
34.63
30.92
18.01

6.95

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Amarlca’s Most Conventent Bank® .

STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page: 10 of 14
: Statement Period: Jum. 0 2015-Jun 30 2015
. Cust Ref #:
: Primary Account #:
DAILY ACCOUNT ACTIVITY a
Electronic Payments (continued) 2
POSTING DA’ DESCRIPTION x AMOUNT
6/22 DEBIT POS, AUT 062215 DBA PURCHASE 247.00
PAYPAL VOLLKOMMEND SANJOSE *CA ,
§
6/22 orn Rs. AUT 062015 VISA DDA PUR 182.01
SHIO JAPANESE RESTADRA . PORTSMOUTH *NH
6/22 NO MAUT 062015 DDA WITHDRAW 103.50
- 17 WALKER ST KITTERY *ME
6/22 pea eT. DDA PURCHASE 81.66
BROOKSTONE 217 KITTERY *ME ,
6/22 nee GRR RRM, AUT 061915 VISA DDA PUR 76.31
IN SYNAPTIC3 ENGINEERIN 603 2444631 * NH
6/22 DEBIT POS, AUT 062015 DDA PURCHASE 52.79
MARSHALLS MARSHALLS |§ NEWBURYPORT * MA
6/22 DEBIT POS, AUT 062015 DDA PURCHASE 4348
PETSMART INC 2390 SEABROOK *NH
6/22 DEBIT CARD PURCHASE, AUT 062015 VISA DDA PUR 30.05
EXXONMOBIL 97537575 HAMPTON *NH
622 DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR 28.23
THE HOLLOW CAFE AMESBURY *MA
6/22 DEBIT CARD PURCHASE, AUT 062115 VISA DDA PUR 27.70
SHUN FENG SEABROOK * NH ,
6/22 DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR 9.04
AMAZON MKTPLACEPMTS AMZN COMBILL* WA
6/22 NONTD ATM FEE 3.00
6/723 DEBIT CARD PURCHASE, AUT 062115 VISA DDA PUR 1,343.60
WOW AIR REYKJAVIK ISL
6/23 DEBIT CARD PURCHASE, AUT 062015 VISA DDA PUR 49.12
ANJU KITTERY POINT * MB
6/23 DEBIT CARD PURCHASE, AUT 062215 VISA DDA PUR 33.35

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ANGIES FOOD DINERINC NEWBURYPORT * MA

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page:

Jun 01.2015-Jun 30 2015
Primary Account #:

Statement Period:
Cust Ref #:

12 of 14

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)
POSTING DATE DESCRIPTION

6/26

6/29

6/29

6/29

6/29

6/29

6/29

6/29

6/29

6/29

6/29

6/29

6/29

DEBIT. CARD PURCHASE, AUT 062415 VISA DDA PUR
THE HOLLOW CAFE AMESBURY * MA
DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR

ATT BILL PAYMENT 800 288 2020 * TX

DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR
LULULEMON NATICK MALL NATICK *MA

NONTD ATM DEBIT, AUT 062915 DDA WITHDRAW
LANDSBANKINN LEIFSSTOD 1 KEFLAVIK ISL

DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR
ANDOVER AIRPORT TRANS 9784750777 * MA

DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR
SICHUAN GOURMET I FRAMINGHAM *MA

DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR
NORDSTROM. 0531 NATICK = * MA
Sy

DEBIT CARD PURCHASE, AUT 062515 VISA DDA PUR
SHIO JAPANESE RESTAURA PORTSMOUTH *NH

===
DEBIT CARD PURCHASE, AUT 062515 VISA DDA PUR
BROWN SUGAR BY THE SEA NEWBURYPORT * MA

=z
DEBIT POS, AUT 062815 DDA PURCHASE
AMAZON COM SEATTLE *WA

DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR
PRO CUT FRAMINGHAM * MA

GSS
DEBIT CARD PURCHASE, AUT 062715 VISA DDA PUR
EXXONMOBIL 97421986 FAIRFIELD * CT

CSS
DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR
USPS COM CLICK66100611 8003447779 * DC

DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR
PHO PASTEUR BOSTON *MA

===>

AMOUNT
27,43

260.66
168.00
1 15.01
95.00
94.27
81.81
64.86
5034
37.02
35.95
34.60
34.46

31.35

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Bask Deposits POIC Insured [1D Bank, N.A. | Eqoad Housing Lender @

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ia) Bank

ENCOMPASS COMMUNICATIONS INC

America’s Most Conventent Bank® STATEMENT OF ACCOUNT

Cust Ref #:
Primary Account #:

41 of 20

Page:
Statement Period: Jul 01 2015-Jul 31 2015

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)
POSTING DATE DESCRIPTION

713
73
WN3
TWN
WAZ
713
Wi3
TAZ
TAZ
WZ
714
N14
74

7/14

DEBIT CARD PURCHASE, AUT 071015 VISA DDA PUR
GALLERY PIZZA HVOLSVOLLUR 1SL
GEEEaer;
DEBIT CARD PURCHASE, AUT 070915 VISA DDA PUR
LEMON REYKJAVIK ISL

DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR
CHOCOCOA BAKING CO NEWBURYPORT * MA

DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR
SQ ATOMIC CAFE NEWBUR NEWBURYPORT *MA

Glas
DEBIT CARD PURCHASE, AUT 071015 VISA DDA PUR
KJARVALHVOLSVELLI = REYKJAVIK ISL
a>
DEBIT CARD PURCHASE, AUT 071115 VISA DDA PUR
STARBUCKS 07907 KITTERY KITTERY * ME

aaa
DEBIT CARD PURCHASE, AUT 070915 VISA DDA PUR
ALDA HOTEL REYKJAVIK = REYKJAVIK. ISL

>
DEBIT CARD PURCHASE, AUT 070915 VISA DDA PUR
BERNHOFTSBAKARI REYKJAVIK ISL
SS
DEBIT CARD PURCHASE, AUT 070915 VISA DDA PUR
RVK BILASTADASJ MIDAMA REYKJAVIK ISL

SSID

DEBIT CARD PURCHASE, AUT 071015 VISADDA PUR .
RVK BILASTADASJ MIDAMA REYKJAVIK [SL
qa

DEBIT CARD PURCHASE, AUT 071115 VISA DDA PUR
HERTZ BILALEIGA FLUGL REYKJAVIK [SL

DEBIT CARD PURCHASE, AUT 071115 VISA DDA PUR
HILTON REYKJAVIK NORDICA REYKJAVIK ISL

Gane
DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR
BRINE OYSTER NEWBURYPORT * MA

DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR
COLE HAAN KITTERY KITTERY * ME

AMOUNT
27.86

16.48
15.58
14.86
14.34

- 13.92
9.07

8.69

3.78

227

361.84

327.08

268.80

235.48

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ENCOMPASS COMMUNICATIONS INC

America’s Mast Convenient Bank®

Cust Ref #:

Primary Account #:

Page:
Statement Period:

STATEMENT OF ACCOUNT

Jul

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DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

7/21 DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 110.63
BLACK COWTAP GRILL NEWBURYPORT * MA

7/21 DEBIT CARD maa sr, AUT 071915 VISA DDA PUR 6232
STONEWALL CAFE 800826173 YORK. * ME

7/21 DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 50.00
STARBUCKS CARD RELOAD 8007827282 * WA

W21 DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 43.80
CORNERSTONE | OGUNQUIT *ME

722 ELECTRONIC PMT-WEB, PAYPAL INST XFER HLEFBAD 1,000.00

7/22 DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR 399.00
WOw AIR REYKJAVIK. ISL

7/22 DEBIT CARD es, AUT 072015 VISA DDA PUR 384.00
WOW AIR REYKJAVIK ISL

722 DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR 128.16
AGAVE MEXICAN BISTRO NEWBURYPORT * MA .

7222 - DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR. 64.91
RISTORANTE MOLISE AMESBURY *MA

7122, DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR. 42.00
LEOS HOUSE OF PIZZA NEWBURYPORT * MA

7/22 DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR 18.94
SZECHUAN TASTE . NEWBURYPORT * MA

7022 DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR 18.00
ONLINE PAYMENT LONDON GBR

7/23 DEBIT CARD PURCHASE, AUT 072215 VISA DDA PUR 3,976.52
BH PHOTO MOTO 800 606 6969 * NY

7/23 DEBIT POS, AUT 072315 DDA PURCHASE 280.19
AMAZON COM SEATTLE *WA

7123 DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR 26.09

THE HOLLOW CAFE AMESBURY * MA

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August
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S$ 3,200.00
USAGE OF FUNDS
Fossa Business S 2,344.53
Clearly Personal S 4,168.81
Unable to determine S -
TOTAL USAGE OF FUNDS S 6,513.34
PERSONAL
08/04/2014 VOC ICONTACTEMAIL MD $ 49.94
08/04/2014 INTUIT FEES $ 19.95
08/04/2014 FREEDDOM VOICE CENTER $ 10.94
08/05/2014 BIGCOMMERCE COM $ 79.95
08/06/2014 INTUIT QB CA $ 28.63
08/08/2014 BRINE NEWBURYPORT MA $ 108.10
08/11/2014 COMCAST CABLE COMM $ 347.84
08/11/2014 URBANOUTFITTERS URBANOUT NATICK $ 180.00
08/11/2014 BRAZO RESTAURANT PORTSMOUTH NI $ — 98.84
08/11/2014 KITTERY TRADING POST ME $ 95.00
08/11/2014 BROWN SUGAR BY THE SEA $ 46.59
08/4 1/2014 FOREVER 21 MA $ 44.40
08/11/2014 NORDSTROM 546 FRAMIGHAM MA $ 39.97
08/11/2014 SQ KELLIE BROOK FARM MA $ 412.50
08/11/2014 SQ ATOMIC CAFE MA $ 5.03
08/12/2014 PURCH W/CB AMESBURY MA $ 163.72
08/12/2014 KITTERY POINT ME $ 72.64
08/12/2014 STARBUCKS NEWTON MA $ 7.38
08/13/2014 NORDSTROM 0531 NATICK MA $ 58.21
08/13/2014 PRO CUT FRAMIGHAM MA $ 20.95
08/14/2014 LIL S CAFE KITTERY ME $ 16.15
08/15/2014 RALLYSPORT DIRECT UT $ 209.04
08/15/2014 NORDSTROM 487 BOYLST BOSTON MA $ 89.94
08/15/2014 NORDSTROM 497BOYLST BOSTON MA $ 48,09
08/15/2014 KANTIN BOSTON MA $ 28.10
08/18/2014 ELECTRONIC PMT-TEL, ACHIVR VISB BI $ 610.62
08/18/2014 WITHDRAW PORTSMOUTH NH $ 62.50
08/18/2014 BOSTON COMMON PARK MA $ 28.00
08/18/2014 OLD NAVY USA NEWINGTON NM $ 25.00
08/18/2014 CHERRY BLOSSOM ASHLAND MA $ 20.00

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08/18/2014 MORNING BUZZ CAFE MA $ 18.67
08/18/2014 KELLIE BROOK FARM MA $ 12.50
08/18/2014 SARKU JAPAN 050 BOSTON MA $ 10.02
08/18/2014 THE JUICERY PORTSMOUTH NH $ 9.00
08/18/2014 OLD NAVY NEWINGTON NH $ 4.24
08/25/2014 NONTD ATM FEE $ 3.00
08/25/2014 SHERATON TORONTO $ 130.33
08/26/2014 GUS BIKE SHOP NORTH HAMPTON NH $ 650.00
08/26/2014 KAIZEN TUNING BOXBOROUGH MA $ 590.00
08/28/2014 DURGIN PARK BOSTON MA $ 75.39
08/28/2014 BROWN SUGAR BY THE SEA MA $ 37.64
Total PERSONAL $ 4,168.81
September

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW S 28,170.02
USAGE OF FUNDS

Fossa Business S 16,813.87
Clearly Personal S$ 12,252.26
Unable to determine S 12,500.87
TOTAL USAGE OF FUNDS $ 41,567.00
09/02/2014 CHECK #1584 $ 2,800.00
09/02/2014 AMICA MUTUAL INS $ 203.92
09/02/2014 INTUIT ACCT FEE $ 19.95
09/03/2014 BIGCOMMERCE COM TX $ 79.95
09/03/2014 LITIL | UPPHAFI ISL - TOYS STORE $ 63.05
09/03/2014 VOC ICONTACTEMAIL MD $ 49,94
09/03/2014 FREEDOM VOICE SYSTEMS CA $ 10.94
09/05/2014 LAUGAVEGUR 26 REYKJAVIK ISL - TOUF $ 86.73
09/05/2014 AROUND ICELAND ISL - TOURIST ATTRA $ 32.47
09/08/2014 VZWRLSS IVR VB GA $ 444,82
09/08/2014 PORTSMOUTH SAKE RESTARA NH $ 54.11
09/08/2014 WAL WAL MART SUPER 642 SEABROOK $ 43.56
09/08/2014 PETSMART SEABROOK NH $ 31.98
09/08/2014 INTUIT QB ONLINE CA $ 28.63
09/08/2014 SQ THE JUICERY NH $ 22.98
09/08/2014 SQ KELLIE BROOK FARM MA $ 12.50
09/08/2014 CHOCOCOA BAKING CO MA $ 11.09
09/08/2014 STARBUCKS 07329 NEWBURY MA $ 6.85

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09/08/2014 CITY OF PORTSMOUTH NH $ 4.00
09/09/2014 PAPA WHEELIES PORTSMOUTH NH $ 1,225.00
09/09/2014 AGAVE MEXICAN BISTRO MA $ 64.44
09/09/2014 DUTY FREE STORE ISL $ 61.73
09/09/2014 WAL WAL MART STORE FRAMIGHAM M/é $ 41.21
09/09/2014 ANGIES FOOD DINER MA $ 29.34
09/09/2014 SHUN FENG SEABROOK NH $ 21.47
09/09/2014 OLFY 149 NEWBURYPORT MA $ 19.25
09/10/2014 SICHUAN GOURMET FRAMIGHAM MA ss $ 68.80
09/10/2014 WHOLEFDS FRA FRAMIGHAM MA $ 63.65
09/10/2014 KITCHEN SPIRITS MA $ 63.23
09/10/2014 SHELL OIL NEWBURYPORT MA $ 40.22
09/10/2014 STAPLES INC SEABROOK NH $ 31.48
09/10/2014 POLKA DOG BAKERY MA 3 27.65
09/11/2014 ANNEKE JANS KITTERY ME $ 401.48
09/11/2014 TARGET HAVERHILL MA $ 65.92
09/11/2014 PRO CUT FRAMIGHAM MA $ 33.95
09/11/2014 STOP SHOP AMESBURY MA $ 30.38
09/11/2014 MORNING BUZZ CAFE AMESBURY MA $ 26.69
09/11/2014 SQ THE JUICERY PORTSMOUTH NH $ 18.50
09/11/2014 DUNKIN 304921 NEWBURYPORT MA $ 3.88
09/12/2014 GUS BIKE SHOP NORTH HAMPTON NH §$ 2,269.94
09/12/2014 EXXONMOBIL AMESBURY MA $ 53.75
09/12/2014 SHAWSHEEN LUNCHEONETTE ANDOVE $ 25.55
09/12/2014 MORNING BUZZ CAFE AMESBURY MA §$ 20.46
09/15/2014 SHABU ZEN ALLSTON MA $ 232.55
09/15/2014 NIXS NEWBURYPORT MA $ 76.34
09/15/2014 EXXONMOBIL PORTSMOUTH NH $ 53.19
09/15/2014 MORNING BUZZ CAFE AMESBURY MA $ 49.06
09/15/2014 THE GROG RESTAURANT NEWBURYPO $ 46.81
09/15/2014 RIVERSIDE CYCLES NEWBURYPORT M/ $ 44.99
09/15/2014 BROWN SUGAR BY THE SEA NEWBURY $ 42.38
09/15/2014 CVS 01871 FRAMIGHAM MA $ 33.21
09/15/2014 FM STATION CAFE NEWBURYPORT MA $ 26.03
09/15/2014 PAPA WHEELIES PORTMOUTH NH $ 25.00
09/15/2014 PIZZA FACTORY AMESBURY MA $ 24.30
09/15/2014 SQ THE JUICERY PORTSMOUTH NH $ 16.00
09/15/2014 CVS 00361 BOSTON MA $ 14.96
09/15/2014 SQ ATOMIC CAFE NEWBUR MA $ 14.87
09/15/2014 CITY OF PORTSMOUTH NH $ 2.00
09/15/2014 ITUNES - CREDIT $ (0.69)
09/16/2014 ANJU KITTERRY POINT ME $ 108.96
09/16/2014 THE GROG RESTAURANT NEWBURYPO $ 81.65
09/16/2014 RIVERSIDE CYCLES NEWBURYPORTM § 65.84

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09/16/2014 MORNING BUZZ CAFE $ 28.66
09/16/2014 STARBUCKS SAUGUS MA $ 7.80
09/17/2014 SHAW MARKET NEWBURYPORT MA $ 82.13
09/17/2014 MANDARIN WESTBOROUGH MA $ 60.95
09/17/2014 LAFAYETTE GARAGE BOSTON MA $ 34.00
09/18/2014 SOU BEST BUY NEWINGTON NH $ 169.98
09/18/2014 PETMART SEABROOK NH $ 59.97
09/18/2014 EXXONMOBIL AMESBURY MA $ 51.44
09/18/2014 DICK CLOTHING SPORTING NEWINGTOI $ 29.98
09/18/2014 FM STATION CAFE NEWBURYPORT MA $ 21.82
09/18/2014 EXXONMOBIL AMESBURY MA , $ 10.13
09/18/2014 SQ ATOMIC CAFE NEWBURYPORT MA $ 8.59
09/19/2014 CVS AMESBURY MA $ 146.11
09/19/2014 RIVERSIDE CYCLES NEWBURYPORT Mé § 63.74
09/19/2014 HANA JAPAN RESTAURANT MA $ 59.67
09/19/2014 THE GROG RESTAURANT NEWBURYPO $ 55.49
09/19/2014 CVS PHARMACY NEWBURYPORT MA $ 35.04
09/19/2014 FM STATION CAFE NEWBURYPORT MA §$ 28.83
09/19/2014 COLBY FARM NEWBURY MA $ 27.92
09/19/2014 APL ITUNES COM BILL CA $ 11.99
09/19/2014 USPS COM DC $ 11.30
09/19/2014 CHOCOCOA BAKING MA $ 7.64
09/22/2014 WITHDRAW BANK OF TAIWAN $ 661.97 ~
09/22/2014 RISTORENTE MOLISE AMESBURY MA $ 148.26
09/22/2014 HANA JAPAN RESTAURANT MA $ 83.04
09/22/2014 LEGAL SEA FOOD EAST BOSTON MA = $ 64.41
09/22/2014 NAILS NEWBURYPORT MA $ 60.00
09/22/2014 NEWSLINK BOSTON MA $ 50.51
09/22/2014 GULF OIL LYNNFIELD MA $ 39.44
09/22/2014 NEW ENGLAND CLEANE AMESBURY MA $ 38.70
09/22/2014 NEWSLINK BOSTON MA $ 31.92
09/22/2014 PIZZA FACTORY AMESBURY MA $ 22.00
09/22/2014 USPS COM DC $ 5.25
09/22/2014 NONTD ATM FEE $ 3.00
09/23/2014 TAIWAN HIGH SPEED RAIL TWN $ 254.34
09/23/2014 AMI AMICA INSURANCE RI $ 203.92
09/23/2014 TATSUKICHI NARITA JPN $ 29.45
09/25/2014 CHUNG SHEN 04328 KAOHSIUNG CIT TV $ 120.23
09/25/2014 OVERDRAFT RET $ 35.00
09/30/2014 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 12,252.26

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October

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW $ 36,267.07
USAGE OF FUNDS

Fossa Business S 22,974.40

Clearly Personal S 11,077.24

Unable to determine S 4,666.93
TOTAL USAGE OF FUNDS S 38,718.57

420.72
19.95
1.05
1.05
147.33
74,57
54.09
49.94
191.94
79.95
53.67
31.62

10/01/2014 VZWRLSS IVR VB GA $
10/01/2014 INTUIT ACCT FEE INTUIPMTS $
10/01/2014 APL ITUNES COM BILL CA $
10/01/2014 APL ITUNES COM BILL CA $
10/02/2014 TARTUFO RISTORANTE NEWTON MA $
10/02/2014 ATLANTA GOR T WN $
10/02/2014 WATERWORKS BAR DETROIT MI $
10/02/2014 VOC ICONTACTEMAIL MKT SV MD $
10/03/2014 TJ TJ MAXX SEABROOK NH $
10/03/2014 BIGCOMMERCE COM TX $
10/03/2014 TATSUKICHI NARITA J PN $
10/03/2014 SHUN FENG SEABROOK NH $
10/03/2014 NNT KMART NEWBURYPORT MA $ 21.24
10/06/2014 NATIONALGRID SYRACUSE NY $ 547.13
10/06/2014 NNT CELLULAR SEABROOK NH $ 304.98
10/06/2014 KITTERY TRADING POST ME $ 174.05
10/06/2014 CREW FACTORY STORE KITTERY ME $ 129.50
10/06/2014 THE GROG RESTAURANT NEWBURYPC $ 87.10
10/06/2014 LOTUS FLOWER FRAMIGHAM MA $ 58.01
10/06/2014 KITTERY TRADING POST KITTERY ME §$ 48.49
10/06/2014 HANA JAPAN RESTAURANT MA $ 41.92
10/06/2014 GULF OIL NATICK MA $ 39.27
10/06/2014 PRO CUT FRAMIGHAM MA $ 35.95
10/06/2014 JOHNNY S LUNCHEONETTE NEWTON M $ 31.39
10/06/2014 BROWN SUGAR BY THE SEA NEWBURY $ 29.61
10/06/2014 INTUIT QB ONLINE CA 3 28.63
10/06/2014 CVS AMESBURY MA $ 27.70
10/06/2014 MORNING BUZZ CAFE MA $ 23.99
10/06/2014 SQ KELLIE BROOK FARM NEWBURYPO $ 12.50
10/06/2014 LIL S CAFE KITTERY ME $ 12.37

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10/06/2014 FREEEDOM VOICE SYSTEMS CA $ 10.92
10/06/2014 KITTERY TRADING POST KITTERY ME $ 8.43
10/06/2014 CHOCOCOA BAKING NEWBURYPORT f $ 7.94
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 7.46
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 7.46
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 5.51
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 4.26
10/06/2014 APL ITUNES COM BILL $ 3.18
10/07/2014 ANJU KITTERY POINT ME $ 71.56
10/07/2014 USPS NEWBURYPORT MA $ 46.00
10/07/2014 SBARRO EAST BOSTON MA $ : 29.37
10/07/2014 MORNING BUZZ CAFE MA $ 25.75
10/07/2014 JOPPA FINE FOODS MA $ 10.95
10/08/2014 DURGINPARK E BOSTON MA $ 56.00
10/08/2014 NONTD ATM FEE $ 3.00
10/08/2014 NONTD ATM FEE $ 3.00
10/14/2014 CHECK #1592 $ 2,800.00
10/14/2014 HAGKAUP AKUREYRI REYKJAVIK ISL -‘ § 20.86
10/14/2014 ZEBRA OG REYKJAVIK ISL - COSMETIC $ 9.34
10/14/2014 APL ITUNES COM BILL CA $ 5.30
10/15/2014 VERIZON WRLS MYACCT VN CA $ 242.02
40/16/2014 SPARK DESIGN SPACE REYKJAVIK ISL $ 221.60
10/20/2014 BLUE LAGOON BADSVADI GRINDAVIK IE $ 310.93
10/20/2014 KRINGLUNNI REYKJAVIK ISL - SHOPPIN $ 168.46
10/20/2014 BLUE LAGOON VERSLUN GRINDAVIK IS $ 81.91
10/20/2014 BLUE LAGOON VERSLUN GRINDAVIK IS $ 66.03
40/20/2014 REYKJAVIK BACKPACKERS REYKJAVI $ 38.87
10/20/2014 PUBLIX MIAMI FL $ 38.12
10/20/2014 HAGRAUP AKUREYRI REYKJAVIK ISL -! $ 11.341
10/20/2014 PUBLIX MIAMI FL $ 6.10
10/20/2014 NONTD ATM FEE $ 3.00
10/20/2014 CITY OF MIAMI BEACH PARK FL $ 2.20
10/21/2014 STARBUCKS PICKERING C AN $ 359.30
10/21/2014 STARBUCKS TORONTO C AN $ 357.90
10/21/2014 STARBUCKS TORONTO C AN 3 355.61
10/21/2014 STARBUCKS TORONTO C AN $ 355.61
10/21/2014 STARBUCKS TORONTO C AN $ 355.61
10/27/2014 BARBOUR WAREHOUSE STORE KITTER §$ 348.14
10/27/2014 CEIA KITCEN AND BAR NEWBURYPORT $ 206.56
10/27/2014 COLE HAAN KITTERY KITTERY ME $ 146.65
10/27/2014 CREW FACTORY STORE KITTERY ME §$ 110.55
10/27/2014 33 LOW STREET NEWBURYPORT MA $ 60.00
10/27/2014 KITTERY FACTORY ST KITTERY ME $ 58.01
10/27/2014 TARGET DANVERS MA $ 56.99

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47.11
41.96
33.98
26.05
1,705.47
57.68
38.62
305.88

10/27/2014 STATION CAFE NEWBURYPORT MA $

10/27/2014 FORMOSA FRAMIGHAM MA $

10/27/2014 AUTOZONE SEABROOK NH $

10/27/2014 SHELL OIL NEWBURYPORT MA $

10/27/2014 WIRE - ASAHI ENTERPRISES CORP - Bik $

10/28/2014 ANJU KITTERY POINT ME $

10/28/2014 ANGIES FOOD DINER NEWBURYPORT Kh $

10/28/2014 COMCAST CABLE COMM COMCAST MA §$

10/28/2014 TJ TJ MAXX SEABROOK NH $ 102.42

10/29/2014 SUNOCO NEWBURYPORT MA $ 43.08

40/29/2014 STATION CAFE NEWBURYPORT MA $ 35.92

10/29/2014 MARSHALLS MARSHALLS NEWBURYPC $ 31.73

10/29/2014 SHUN FENG SEABROOK NH $ 30.37

10/30/2014 COMCAST CABLE COM COMCAST MA $ 244.35

10/30/2014 MICHAEL HARBORSI| NEWBURYPORT M. $ 73.53

10/30/2014 CHOCOCOA BAKING NEWBURYPORT M. $ 4.47

10/30/2014 CHILI S SEABROOK SEABROOK NH $ 70.29

10/31/2014 BRINE OYSTER NEWBURYPORT MA $ 67.32

10/31/2014 MORNING BUZZ CAFE AMESBURY MA_ $ 50.03

10/31/2014 NNU XFINITYWIFI TX $ 19.95

10/31/2014 CREDIT- VISA TEMP $ (1,830.45)
Total PERSONAL $ 11,077.24

November
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 20,951.03
USAGE OF FUNDS
Fossa Business S 8,704.55
Clearly Personal S 10,031.73
Unable to determine S 3,326.79
TOTAL USAGE OF FUNDS S 22,063.07
11/03/2014 ACCT FEE INTUITPMTS $ 19.95
11/04/2014 WEATHERVANE SEAFOOD REST KITTEF $ 107.83
11/04/2014 SOU BEST BUY NEWINGTON NH $ 99.99
11/04/2014 BARNESNOBLE GOSLING EWINGTON NI $ 30.39
11/04/2014 BARNESNOBLE GOSLING EWINGTON Ni $ 7.90
11/05/2014 ALE HOUSE AMESBURY MA $ 63.12
11/05/2014 EXXONMOBIL NEWBURYPORT MA $ 51.28

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25.91
11.65
3.00
201.92
70.54
13,98
(8.55)
300.00
55.44
21.98
" 12.57
2.68
502.50
146.14
106.32
79.95

11/05/2014 STATION CAFE NEWBURYPORT MA $

11/05/2014 ATOMIC CAFE NEWBURYPORT MA $

11/05/2014 CITY OF PORTSMOUTH NH $

11/06/2014 AMI AMICA INSURANCE LINCOLN RI $

11/06/2014 PORTSMOUTH BREWERY PORTSMOU $

11/06/2014 STARBUCKS SAUGUS MA $

11/06/2014 CREDIT - XFINITY $

11/07/2014 WITHDRAW 51 STATE STREET NEWBUI $

11/07/2014 OLD NAVY NEWINGTON NM $

41/07/2014 STAPLES NEWINGTON NH $

11/07/2014 TRADER JOE S NEWINGTON NH $

11/07/2014 CHOCOCOA BAKING NEWBURYPORT Nv $

11/10/2014 HARBORSIDE EAST BOSTON MA $

11/10/2014 CVS AMESBURY MA $

11/10/2014 LOTUS FLOWER FRAMIGHAM MA $

41/10/2014 BIGCOMMERCE COM TX $

11/10/2014 CHINA STAR LOWELL MA $ 76.50

11/10/2014 BROWN SUGAR BY THE SEA NEWBURY $ 48.20

11/10/2014 CVS AMESBURY MA $ 44.08

11/10/2014 SHELL OIL NEWBURYPORT MA $ 39.41

11/10/2014 PRO CUT FRAMINGHAM MA $ 35.95

11/10/2014 CIRCLE K AMESBURY MA $ 32.45
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11/10/2014 AMAZON COM SEATTLE WA 30.99
11/10/2014 NORDSTROM NATICK MA 27.63
11/10/2014 SZECHUAN TASTE NEWBURYPORT MA 26.42
11/10/2014 SHUN FENG SEABROOK NH 26.23
11/10/2014 CVS AMESBURY MA 17.45
11/10/2014 FREEDOM VOICE SYSTEMS CA 10.92
11/10/2014 STARBUCKS PEABODY MA 9.35
11/10/2014 ATOMIC CAFE NEWBURYPORT MA 7.46
11/10/2014 NONTD ATM FEE 3.00
1142/2014 DURGIN PARK EAST BOSTON MA 74.37
14/17/2014 CHECK #1595 5,600.00
11/17/2014 GUERRERO ACTON MA 95.00
11/17/2014 RISTORANTE MOLISE AMESBURY MA 77.88
11/17/2014 RADIOSHACK COR SEBROOK NH 57.98
11/17/2014 CIRCLE K SEABROOK NH 40.16
11/17/2014 BARNESNOBLE 45 GOSLING EWINGTON $ 38.57
11/17/2014 SHUN FENG SEABROOK NH $ 30.10
1117/2014 USPS AMESBURY MA $ 16.95
11/17/2014 GUERRERO ACTON MA $ 5.00
11/17/2014 CREDIT - SQ GUERRERO ACTON $ (5.00)
11/18/2014 HREYFILL REYKJAVIK ISL TOURIST TOL $ 92.78
11/19/2014 MARSHALLS MARSHALLS NEWBURYP(C $ 297.48

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11/19/2014 WALMART SEABROOK NH $ 64.68
11/19/2014 CIRCLE AMESBURY MA $ 30.31
11/19/2014 MORNING BUZZ CAFE AMESBURY MA $ 29,58
11/19/2014 SHUN FENG SEABROOK NH $ 29,07
11/19/2014 PETSMART SEABROOK NH $ 9.99
11/20/2014 MICHAEL HARBORS! NEWBURYPORT W $ 122.86
11/20/2014 NAILS NEWBURYPORT MA $ 53.00
11/20/2014 ANGIES FOOD DINER NEWBURYPORT $ 28.73
11/20/2014 ATOMIC CAFE NEWBURYPORT MA $ 4.60
11/21/2014 VZWRLSS IVR GA $ 200.00
11/21/2014 WITHDRAW BANK SINOPAG TWN $ 429.50 ‘
11/21/2014 PHILLIPS SEA FOOD BOSTON MA $ 16.04
41/21/2014 NONTD ATM FEE $ 3.00
11/24/2014 TAIWAN HIGH SPEED RAIL TWN $ 94.25
11/24/2014 MOVEMBER CHARITY CA $ 50.00
11/24/2014 FRESH CITY RAST BOSTON MA $ 22.40
11/24/2014 NARITA AIRPORT TERMINAL CHIBA JPA $ 7.16
11/24/2014 STARBUCKS EAST BOSTON MA $ 5.46
11/24/2014 DUNKIN BOSTON MA $ 2.29
11/26/2014 TATSUKICHI NARITA JPN $ 22,07
11/26/2014 TATSUKICHI NARITA JPN $ 3.40
11/28/2014 CHEERFUL FASHION GOODS KAOHSIUS $ 287,21
11/28/2014 CHEERFUL FASHION GOODS KAOHSIUD $ 32.39 —_
Total PERSONAL 5 70,031.73 |
December
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW 5 27,655.97
USAGE OF FUNDS
Fossa Business 5 10,168.23
Clearly Personal S 7,906.01
Unable to determine $ 9,667.04
TOTAL USAGE OF FUNDS 5 27,741.28
12/01/2014 VZWRLSS IVR VN NJ $ 537.32
12/01/2014 THE ORVIS CO ME $ 189.91
12/01/2014 WEATHERVANE SEAFOOD REST KITTEF $ 63.18
12/01/2014 THE GROG RESTAURANT NEWBURYPO $ 60.69
12/01/2014 CIRCLE SEABROOK NH $ 36.28

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12/02/2014 TATSUKICHI NARITA JPN $ 28.84
12/02/2014 CCD DEBIT ACCT FEE INTUITPMTS $ 19.95
12/03/2014 VOC ICONTACTEMALL MD $ 99.88
42/03/2014 BIGCOMMERCE COM TX $ 79.95
12/03/2014 BARNESNOBLE GOSLING EWINGTON NI $ 63.80
12/03/2014 PETSMART SEABROOK NH $ 32.98
12/03/2014 SOU BEST BUY NEWINGTON NH $ 19.99
12/03/2014 OLD NAVY NEWINGTON NH $ 10.00
12/04/2014 VZWRLSS IVR VB GA $ 200.00
12/04/2014 SHUN FENG SEABROOK NH $ 30.16
12/04/2014 CIRCLE K SEABROOK NH $ 30.00 ,
{2/04/2014 FREEDOM VOICE SYSTEM CA $ 10.86
12/05/2014 BARNES NOBLE NEWINGTON NH $ 6.92
12/08/2014 AGAVE MEXICAN BISTRO NEWBURYPOI §$ 50.82
12/08/2014 CIRCLE AMESBURY MA $ 33.28
12/09/2014 USPS COM DC $ 55.00
12/09/2014 MORNING BUZZ CAFE AMESBURY MA §$ 21.78
12/09/2014 SBARRO EAST BOSTON MA $ 17.83
12/09/2014 USPS COM DC $ 11.30
12/09/2014 APL ITUNES COM BILL CA 3 10.99
12/10/2014 VZWRLSS IVR VB GA $ 200.00
12/10/2014 VZWRLSS IVR VN NJ $ 150.00
12/10/2014 STARBUCKS TERM EASTBOSTON MA §$ 10.81
12/15/2014 GAGA REYKJAVIK ISL 3 158.57
12/15/2014 CHECK #1603 3 2,800.00
12/15/2014 RELAY RED CANOE EDMONTONCAN § 7.44
12/15/2014 NONTD ATM FEE $ 3.00
12/15/2014 NONTD ATM FEE $ 3.00
12/15/2014 NONTD ATM FEE $ 3.00
12/16/2014 DUTY FREE STORE REYJANESBER ISL §$ 64.55
12/16/2014 LONDON DRUGS VANCOUVER C AN $ 17.36
12/17/2014 RUDSAK VANCOUVER CAN $ 72.38
12/18/2014 VZWRLSS IVR VB GA $ 244,24
12/18/2014 VANCOUVER NEWS RICHMOND CAN) $ 3.62
42/22/2014 BASSLER VETERINARY HOSPI SALISBU §$ 365.60
12/22/2014 COACH KITTERY ME $ 227.86
12/22/2014 ALDO US BURLINGTON MA $ 91.98
12/22/2014 THE GROG RESTAURANT NEWBURYPO $ 61.29
12/22/2014 VAN HEUSEN RETAIL DIV KITTERY ME $ 27.01
12/23/2014 APPLE STORE BURLINGTON MA $ 73,31
12/26/2014 WAL MART SEABROOK NH $ 26.84
12/29/2014 PAYPAL TOTALCYCLIN G BR $ 385.21
12/29/2014 CHINA STAR LOWELL MA $ 121.49
12/29/2014 VZWRLSS IVR VN NJ $ 400.00

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64.00
30.43
25.51
17.71
15.64

42/29/2014 NORTH MANHELM ROSEMONT iL $
12/29/2014 BREAKFAST CLUB ALLSTON MA $
12/29/2014 CIRCLE K AMESBURY MA $
12/29/2014 SHUN FENG SEABROOK NH $
12/29/2014 PEET CAMBRIDGE MA $
12/29/2014 CAFENATION BRIGHTON MA $ 7.00
12/29/2014 DUNKIN AMESBURY MA $ 4.26
12/29/2014 NONTD ATM FEE $ 3.00
12/30/2014 AUTOZONE LAFAY SEABROOK NH $ 206.98
12/30/2014 WAL MART SEABROOK NH $ 84.08
12/30/2014 SZECHUAN TASTE NEWBURYPORT MA $ 29.63
12/30/2014 ROGERS REDLINER PORTSMOUTH NH $ 27.06
12/30/2014 OVERDRAFT FEE $ 175.00
12/31/2014 NATIONALGRID SYRACUSE NY $ 260.44
12/31/2014 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 7,906.01

January

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW S 49,287.27
USAGE OF FUNDS

Fossa Business S 37,339.17

Clearly Personal 5 9,233.91

Unable to determine S 2,600.29
TOTAL USAGE OF FUNDS 5 49,173.37

301.62
162.86
84,37
62.58

01/02/2015 TEN ICH! NATICK MA $
01/02/2015 SHABU ZEN REST BOSTON MA $
01/02/2015 CRATE BARREL KITTERY ME $
01/02/2015 MANDARIN ORIENTAL FB BOSTON MA_$
01/02/2015 CALIFORNIA PIZZA BOSTON MA $ 52.85
01/02/2015 PRUDENTIAL CENTER GARA BOSTON IM $ 38.00
01/02/2015 TEN ICH] NATICK MA $ 35.50
01/02/2015 INTUIT PYMT ACCT FEE $ 35.00
01/02/2015 SHELL OIL PORTSMOUTH NH $ 32.97
01/02/2015 ANGIES FOOD DINER NEWBURYPORT Kh $ 28.80
01/02/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
01/02/2015 APL ITUNES COM BILL CA $ 10.61
01/02/2015 ATOMIC CAFE NEWBUR NEWBURYPOR’ $ 2.51

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01/05/2015 MICHAEL HARBORSI NEWBURYPORT M. $ 135.70
01/05/2015 CHINATOWN BOSTON MA $ 103.00
01/05/2015 SHAW MARKET NEWBURYPORT MA $ 98.68
01/05/2015 BIGCOMMERCE COM TX $ 79.95
01/05/2015 PORTSMOUTH BREWERY PORTSMOUT $ 72.76
01/05/2015 ARMY BARRACKS S 30 BROAD SAUGUS $ 66.96
01/05/2015 VOG ICONTACTEMAIL MKT SV MD $ 49.94
01/05/2015 SUNOCOMFRAMIGHAM MA $ 29.29
01/05/2015 AMAZON COM BILL WA $ 23.71
01/05/2015 PETSMART SEABROOK NH $ 19.98
01/05/2015 NORDSTROM RACK 546 FRAMIGHAM Mé $ 18.43
01/05/2015 FREEDOM VOICE SYSTEM 2 CA $ 10.84
01/05/2015 NONTDAM ATM FEE $ 3.00
01/06/2015 TOWN FAIR TIRE SEABROOK NH $ 174.44
01/06/2015 SUNOCO PEABODY MA $ 37.59
01/06/2015 THE HOLLOW CAFE AMESBURY MA $ 31.02
01/06/2015 SHUN FENG SEABROOK NH $ 11.45
01/06/2015 CHOCOCOA BAKING NEWBURYPORT M. $ 7.94
01/06/2015 APL ITUNES COM BILL CA $ 5.29
01/07/2015 WITHDRAW 315 COMMONWEALTH WAY $ 83.00
01/07/2015 THE GROG RESTAURANT NEWBURYPO $ 22.43
01/07/2015 EXXONMOBIL NEWBURYPORT MA $ 20.69
01/07/2015 NONTD ATM FEE $ 3.00
01/08/2015 CVS AMESBURY MA $ 156.30
01/08/2015 MAIN ANIMAL SRV HOP HOPKINTON MA $ 156.20
01/08/2015 CVS AMESBURY MA $ 38.72
01/09/2015 EO NOODLES FRAMIGHAM MA $ 52.44
01/09/2015 NORDSTROM 0531 NATICK MA $ 41.52
01/09/2015 EXXONMOBIL NEWBURYPORT MA $ 39.82
01/09/2015 CIRCLE AMESBURY MA $ 36.63
01/09/2015 PRO CUT FRAMIGHAM MA $ 30.95
01/09/2015 MORNING BUZZ CAFE AMESBURY MA $ 20.84
01/09/2015 DUNKIN 304921 NEWBURYPORT MA $ 3.84
01/09/2015 INONE VENDING 19 HUNT VALLEY MD) $ 1.00
01/12/2015 VZWRLSS IVR VB GA $ 1,163.57
01/42/2015 MIX MIX CILLEXIONS SAINT HYACINTC $ 152.94
01/12/2015 GAP OUTLET USA KITTERY ME $ 104.42
01/12/2015 BRINE OYSTER NEWBURYPORT MA $ 96.47
01/12/2015 TARGET FRAMIGHAM MA $ 90,46
01/12/2015 FOOT LOCKER PEABODY MA $ 89.99
01/12/2015 HARRY BAR GRILL BRIGHTON MA $ 89.84
01/42/2015 DIRECT TIRE AUTO SER NATICK MA $ 85.00
01/12/2015 NORDSTROM 543 MIDDLES BURLINGTO $ 79.97
01/12/2015 UNIQLO NATICK FRAMIGHAM MA $ 79.60

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01/12/2015 300NIRTH SAUNDERSTOWN RI $ 72.05
01/12/2015 CREW FACTORY STORE KITTERYME § 64.03
01/12/2015 WEATHERVANE SEAFOOD REST KITTEF § 62.32
01/12/2015 GULF OIL FRAMNIGHAM MA $ 37.37
01/12/2015 WASABI NATICK VA $ 35.50
01/12/2015 CIRCLE AMESBURY MA $ 31.75
01/12/2015 PHO PARIS PEABODY MA $ 31.18
01/12/2015 CVS AMESBURY MA $ 27.25
01/12/2015 SUNOCO AMESBURY MA $ 23.34
01/12/2015 THE JUICERY PORTSMOUTH NH $ 16.00
01/12/2015 PAUL NATICK NATICKMA $ 13.21
01/12/2015 SANDWICH WORKS NEWTON CENTER § 8.22
01/13/2015 MICHELLES ON MARKET PORTSMOUTH § 73.75
01/13/2015 CIRCLE AMESBURY MA $ 26.98
01/13/2015 MORNING BUZZ CAFE AMESBURY MA § 21.79
01/13/2015 CHOCOCOA BAKING NEWBURYPORT M. § 8.95
01/19/2015 UMI OF JAPAN PEABODY MA $ 7.79
01/13/2015 NONTD ATM FEE $ 3.00
01/14/2015 SBARRO EAST BOSTON MA $ 28.42
01/14/2015 MORNING BUZZ CAFE AMESBURY MA § 21.04
01/14/2015 HUDSON NEWS EASTBOSTONMA —§ 9.68
01/15/2015 JOES AMERICAN PEABODY MA $ 75.06
01/20/2015 CHECKS #1608 § 2,800.00
01/20/2015 AROUND ICELAND REYKJAVIKISL 28.84
01/20/2015 HAGKAUP AKUREYRI REYKJAVIKISL  § 20.16
01/22/2015 LAUGAVEGUR 26 REYKJAVIK REYKJA’ § 304,19
01/22/2015 NONTD ATM FEE $ 3.00
01/28/2015 DRIFA GARDABAR ISL $ 117.13
01/28/2015 ASIA REYKJAVIK ISL $ 53.49
01/28/2015 ASIA REYKJAVIK ISL $ 31.18
01/28/2015 NONTD ATM FEE $ 3.00
01/29/2015 VZWRLSS IVR VB GA $ 200.00
01/29/2015 GEYSIR SKOLAVORDUSTIG REYKJAVI § 73.71
01/30/2015 CVS AMESBURY MA $ 109.47
01/30/2015 VOX RESTAURANT REYKJAVIKISL  § 84.18
01/30/2015 TJ TJ MAXX SEABROOK NH $ 72.99
01/30/2015 PETSMART SEABROOK NH $ 46.66

[Total PERSONAL $ 9,233.91

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February

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW S 45,883.53
USAGE OF FUNDS

Fossa Business S 30,102.20

Clearly Personal 5 5,732.70

Unable to determine S 7,469.19
TOTAL USAGE OF FUNDS $ 43,304.09

120.83
93.04
66.53
46.76
35.64
32.10
24.18
22.72
19.95

101.53
79.95
49.94

2/2/2015 COMCAST CABLE COMM COMCAST M. $
2/2/2015 MARSHALLS MARSHALLS NEWBURYPL $
2/2/2015 RISTORANTE MOLISE AMESBURY MA $
2/2/2015 HUDSON NEWS EAST BOSTON MA $
2/2/2015 FRIENDLY AMESBURY MA $
2/2/2015 CIRCLE AMESBURY MA $
2/2/2015 FRIENDLY AMESBURY MA $
2/2/2015 MORNING BUZZ CAFE AMESBURY M $
2/2/2015 INTUIT PYMT SOLN ACCT FEE 3
2/3/2015 DURGIN PARK EAST BOSTON MA $
2/3/2015 BIGCOMMERCE COM TX $
2/3/2015 VOC ICONTACTEMAIL MD 3
2/3/2015 PET CITY SEABROOK NH $ 17.38
2/3/2015 DUNKIN AMESBURY MA $ 12.29
2/3/2015 FREEDOM VOICE SYSTEMS CA $ 10.91
2/4/2015 THE LAUNDROMAT CAFE REYKJAVIK $ 99.00
2/5/2015 LEVIS BUDIN GLERARTORG! KOPAVOC $ 63.94
2/9/2015 LAUGAVEGUR REYKJAVIK ISL TOURIS' $ 49.91
2/10/2015 NATIONAL GRID NY $ 387.93
2/11/2015 VZWRLSS IVR VN NJ $ 180.00
2/11/2015 SHUN FENG SEABROOK NH $ 22.62
2/12/2015 CVS AMESBURY MA $ 43.11
2/12/2015 AMAZON COM SEATTLE WA 3 32.97
2/12/2015 STATION CAFE NEWBURYPORT MA $ 23.23
2/12/2015 DUNKIN BOSTON MA $ 6.51
2/13/2015 CUMBERLAND FARMS AMESBURY MA $ 30.17
2/17/2015 HST TRSFOUNDATION ORG UT $ 143.88
2/17/2015 OVERDRAFT PD $ 105.00
2/19/2015 AMI AMICA INSURANCE RJ $ 344.00
2/19/2015 MARSHALLS MARSHALLS NEWBURYP $ 137.53

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2/19/2015
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2/27/2015

Total PERSONAL

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AMAZON COM SEATTLE WA $ 41.80
CRATE BARREL KITTERY ME $ 201.28
KITTERY TRADING POST KITTERY ME $ 158.24
CREW FACTORY STORE KITTERYME §$ 94.94
KITTERY TRADING POST KITTERY ME $ 179.34
TENDERCROP FARM NEWBURY MA §$ 84.25
BROOKSTONE KITTERY ME $ 81.66
PORTSMOUTH BREWERY PORTSMOU" $ 68.35
VZWRLSS IVR VN NJ $ 62.00
ROBERTS MAINE GRILL AND KITTER’ $ 59.31
TJ TJ MAXX SEABROOK NH $ 57.95
CVS AMESBURY MA $ 44.18
THE HOLLOW CAFE AMESBURY MA $ 30.37
PET CITY SEABROOK NH 3 9.18
DUNKIN AMESBURY MA $ 6.36
ELECTRONIC PMT-TEL, NGRIDO5 NGRIL $ 370.61
ETSY COM NJ $ 170.00
TARGET DANVERS MA $ 166.88
MICHELLES ON MARKET PORTSMOUTI $ 68.57
PAYPAL CRAGOSTICKB SAN JOSE CA $ 36.01
SZECHUAN TASTE NEWBURYPORT WV $ 26.20
3SYLVAN ST PEABODY MA $ 20.00
ATOMIC CAFE NEWBUR NEWBURYPC $ 7.46
PAYPAL GORIANI ART CA $ 145.62
CHEESECAKE FACTORY PEABODY MA §$ 108.63
TJ TJ MAXX PORTSMOUTH NH $ 66.94
BEDBATH BEYOND BEDBATH PORTSA $ 61.36
HOMEGOODS HOME GOODS ORTSMOL $ 57.95
CUMBERLAND FARMS AMESBURY MA $ 31.70
OVERDRAFT PD $ 175.00
ELECTRONIC PMT-TEL, ACHIVR VISB Bi $ 417.00
SHAW S NEWBURYPORT MA $ 40.28
STAPLES NEWINGTON NH $ 14.99
TRADER JOE NEWINGTON NH $ 13.56
BARNESNOBLE EWINGTON NH $ 9.99
COMCAST BOSTON CS 1X NH $ 147.63
KELLY S TRUE VALUE NEWBURYPORT $ 28.46
USPS NEWBURYPORT MA $ 19.99
ATOMIC CAFE NEWBUR NEWBURYPO $ 11.77
MAINTENANCE FEE $ 15.00
Funds Transfer $ (81.66)
$ 5,732.70

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March
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 55,667.14
USAGE OF FUNDS
Fossa Business S 41,235.28
Clearly Personal S 13,214.39
Unable to determine $ 2,638.76
TOTAL USAGE OF FUNDS $ 57,088.43
3/2/2015 MICHAEL S HARBORSI NEWBURYPOR’ $ 91.11
3/2/2015 BERTUCCI 021 PEABODY MA $ 67.57
3/2/2015 CUMBERLAND FARMS 2035 AMESBUR* $ 36.35
3/2/2015 PORTSMOUTH BREWERY PORTSMOU' $ 33.98
3/2/2015 MARSHALLS MARSHALLS NEWBURYP( $ 31.86
3/2/2018 THE HOLLOW CAFE AMESBURY MA $ 29.84
3/2/2015 SZECHUAN TASTE NEWBURYPORT WN $ 28.80
3/2/2018 KITTERY TRADING POST KITTERY ME $ 23.20
3/2/2015 INTUITPYMT SOLN ASST FEE $ 19.95
3/2/2015 KMART NEWBURYPORT MA $ 18.04
3/2/2015 KITTERY TRADING POST KITTERY ME $ 15.81
3/2/2015 STARBUCKS PORTSMO PORTSMOUTH $ 9.14
3/2/2015 DUNKIN NEWBURYPORT MA $ 6.18
3/3/2015 CHECKS #1615 $ 2,800.00
3/3/2015 MARSHALLS MARSHALLS NORTH HAM $ 90.97
3/3/2015 BIGCOMMERCE COM TX $ 79.95
3/3/2015 CHILIS SEABROOK SEABROOK NH $ 76.66
3/3/2015 THE NATURAL DOG NEWBURYPORT |\ $ 57.32
3/3/2015 VOC ICONTACTEMAIL MKT SV MD $ 49.94
3/3/2015 STOP SHOP AMESBURY MA $ 48.02
3/3/2015 SZECHUAN TASTE NEWBURYPORT M. $ 28.56
3/3/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.51
3/4/2015 THE GROG RESTAURANT NEWBURYPC $ 147.09
3/4/2015 STATION CAFE NEWBURYPORT MA $ 32.53
3/4/2015 DUNKIN AMESBURY MA $ 12.05
3/4/2015 OVERDRAFT PD $ 175.00
3/5/2015 EXXONMOBIL NEWBURYPORT MA $ 26.68
3/5/2015 HUDSON NEWS PHILADELPHIA PA = $ 15.47
3/5/2015 FREEDOM VOICE SYSTEMS CA $ 10.91
3/5/2015 DUNKIN NEWBURYPORT MA $ 4.28

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3.00
25.95
10.65

3.20

3.00

210.89
192.42
122.59
115.21
73.81
26.75
21.03
20,93

7.34

3.00
24.99

280.97
29.99
26.18

3/5/2015 NONTD ATM FEE $
36/2015 ASIAN TOO BOSTON MA $
3/6/2015 HEALTH CARE CEN ORLANDO FL $
3/6/2015 ASIAN TOO BOSTON MA $
3/6/2015 NONTD ATM FEE $
3/9/2015 MARTINS STAUNTON VA $
3/9/2015 OFF FIFTH ORLANDO FL $
3/9/2015 BARNEY S NEW YORK ORLANDO FL §$
3/9/2015 MARTINS STAUNTON VA $
3/9/2015 BARNEY S NEW YORK ORLANDO FL $
3/9/2015 CILIUS PREDIN MIAMI FL $
3/9/2015 MARTINS 6424 HARRISONBURG VA $
3/9/2015 WAL MART STAUNTON VA $
3/9/2015 THE HOME DEPOT HARRISONBURG \ $
3/9/2015 NONTD ATM FEE $
3/10/2015 TJ TJ MAXX SEABROOK NH $
3/11/2015 THE HOME DEPOT SEABROOK NH $
3/11/2015 BEST BUY NEWINGTON NH $
3/11/2015 SHUN FENG SEABROOK NH $
3/11/2015 AMAZON COM SEATLE WA $ 25.26
3/11/2015 BARNESNOBLE GOSLING EWINGTON §$ 14.39
3/11/2015 RICHDALE CONVENIEN SEABROOK NF $ 10.00
3/11/2015 THE HOME DEPOT SEABROOK NH $ 3.85
3/12/2015 ATT BILL PAYMENT TX $ 85.32
3/12/2015 APPLE STORE PEABODY MA $ 31.82
3/12/2015 THE HOLLOW CAFE AMESBURY MA_ § 29.04
3/13/2015 FIFTY WATER RESTAURANT NEWBUR’ $ 209.76
3/13/2015 CIRCLE AMESBURY MA 3 34.05
3/13/2015 THE HOLLOW CAFE AMESBURY MA $ 29.84
3/13/2015 PET CITY SEABROOK NJ $ 12.79
3/16/2015 AMAZONPRIME MEMBERSHIP NV $ 99.00
3/16/2015 BARNESNOBLE MIDDLESEX BURLING’ $ 65.33
3/16/2015 BROWN SUGAR BY THE SEA NEWBUR $ 51.94
3/16/2015 THE GROG RESTAURANT NEWBURYP § 46.19
3/16/2015 CUMBERLAND FARMS AMESBURY MA § 30.26
3/16/2015 CVS PHARMACY AMESBURY MA $ 19.10
3/16/2015 STARBUCKS PEABODY PEABODY Mf $ 12.07
3/16/2015 STARBUCKS SEABROOK SEABROOK | $ 7.19
3/16/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.54
3/17/2015 OVERDRAFT PD $ 175.00
3/18/2015 ELECTRONIC PMT-TEL, ACHIVR VISBE $ 670.03
3/18/2015 CIRCLE AMESBURY MA $ 29.27
3/18/2015 STARBUCKS BOSTON BOSTON MA $ 11,82
3/18/2015 MANDARIN ORIENTAL FB BOSTON MA § 119.86

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3/19/2015 FLATBREAD COMPANY AMESBURY A $ 95.59
3/19/2015 EMPIRE GARDEN RESTAURANT BOSTC $ 60.75
3/19/2015 THE HOLLOW CAFE AMESBURY MA § 44.09
3/19/2015 ANGIES FOOD DINER NEWBURYPORT $ 37.92
3/19/2015 LAZ PARKING BOSTON MA $ 26.00
3/19/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.66
3/19/2015 OVERDRAFT PD $ 105.00
3/20/2015 LUCKY BRAND KITTERY ME $ 65.91
3/20/2015 OVERDRAFT PD $ 175.00
3/23/2015 TANNERY CAMBRIDGE MA $ 175.00
3/23/2015 RISTORANTE MOLISE AMESBURY MA $ 173.44 :
3/23/2015 ANJU KITTERY POINT ME $ 110.20
3/23/2015 TJ TJ MAXX SEABROOK NH $ 89,99
3/23/2015 ALE HOUSE AMESBURY MA $ 76.42
3/23/2015 YENCHING CAMBRIDGE MA $ 42.17
3/23/2015 CUMBERLAND FARMS AMESBURY M. $ 34.48
3/23/2015 LILS CAFE KITTERY ME $ 23.98
3/23/2015 URBAN OUTFITTER URBAN CAMBRIDG $ 19.99
3/23/2015 FISHERMAN S NET BOSTON MA $ 17.77
3/23/2015 HARVARD SQUARE PARKING CAMBRIL $ 15.00
3/23/2015 SHELL OIL REVERE MA $ 14.86
3/23/2015 CHOCOCOA BAKING NEWBURYPORT §$ 11.73
3/23/2015 JOCKEY KITTERY ME $ 9.46
3/23/2015 STARBUCKS KITTERY KITTERY ME $ 8.53
3/23/2015 DUNKIN KITTERY ME $ 7.97
3/24/2015 ARMY BARRACKS ESSE SALEM MA $ 186.21
3/24/2015 STONEWALL CAFE YORK ME $ 98.82
3/24/2015 PORTSMOUTH BREWERY PORTSMOU $ 97,42
3/24/2015 ATT MOBILITY II LLC PEABODY MA $ 37.19
3/24/2015 SZECHUAN TASTE NEWBURYPORT M. $ 27.01
3/25/2015 VERIZON WRLS FRAMINGHAM MA $ 200.00
3/25/2015 PAYPAL DBRAND INC SAN JOSE CA $ 57.00
3/25/2015 SHUN FENG SEABROOK NH $ 31.68
3/25/2015 THE HOLLOW CAFE AMESBURY MA $ 28.73
3/25/2015 STARBUCKS PEABODY PEABODY MA $ 18.76
3/26/2015 SHEA S RIVERSIDE REST BA ESSEX lv $ 148.94
3/26/2015 MICHAELS STORES SEABROOK NH $ 48.63
3/26/2015 LIFE ALIVE SALEM LLC SALEM MA $ 35.73
3/26/2015 THE HOLLOW CAFE AMESBURY MA_ $ 32.30
3/26/2015 CREW FACTORY STORE KITTERY ME $ 26.11
3/26/2015 MARSHALLS MARSHALLS NEWBURYF $ 17.97
3/26/2015 PAUL NATICK NATICK MA $ 17.41
3/27/2015 EL BURRITO INC AMESBURY MA $ 47.32
3/27/2015 CIRCLE AMESBURY MA $ 30.92

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3/27/2015 PAYPAL BODYGUARDZ CA $ 24.90
3/27/2015 PRO CUT FRAMINGHAM MA $ 20.95
3/27/2015 USPS COM DC $ 18.11
3/27/2015 THE JUICERY PORTSMOUTH NH $ 16.00
3/27/2015 ATOMIC CAFE NEWBURYPORT MA $ 3.20
3/30/2015 CHECKS # 1620 $ 2,800.00
3/30/2015 BROWN SUGAR BY THE SEA NEWBUF $ 78.48
3/30/2015 PORTSMOUTH GAS LIGHT PORTSMOU $ 75.13
3/30/2015 CHINA KING RESTAURANT BOSTON M $ 64.25
3/30/2015 AMAZON COM SEATTLE WA $ 54.95
: 3/30/2015 THE GROG RESTAURANT NEWBURYP $ \ 51.98
3/30/2015 BARNESNOBLE GOSLING EWINGTON §$ 44.92
3/30/2015 THE HOLLOW CAFE AMESBURY MA §$ 36.40
3/30/2015 CIRCLE SEABROOK NH $ 30.86
3/30/2015 SHUN FENG SEABROOK NH $ 27.54
3/30/2015 SZECHUAN TASTE NEWBURYPORT Mé $ 26.74
3/30/2015 FM STATION NEWBURYPORT MA $ 23.78
3/30/2015 CHOCOCOA BAKING NEWBURYPORT $ 9.82
3/30/2015 STARBUCKS BOSTON BOSTON MA $ 8.80
3/31/2015 BARNESNOBLE MIDDLESEX BURLINGT $ 33.16
3/31/2015 LAZPARKING BOSTON MA $ 16.00
3/31/2015 MAINTENANCE FEE $ 15.00
| Total PERSONAL $ 13,214.39
April

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 25,267.90

USAGE OF FUNDS
Fossa Business 5 11,709.92
Clearly Personal S 9,433.72
Unable to determine S 1,952.45
TOTAL USAGE OF FUNDS S 23,096.09

04/01/2015 ELECTRONIC PMT-TEL, ACHIVR VISB BII $ 998.09

04/01/2015 THE GROG RESTAURANT NEWBURYPC $ 89.01

04/01/2015 ROMANOS 1173 BURLINGTON MA $ 68.12

04/01/2015 FM STATION NEWBURYPORT MA $ 37.57

04/01/2015 THE HOLLOW CAFE AMESBURY MA $ 36.93
$

04/01/2015 INTUIT PYMT SOLN ACCT FEE 19.95

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04/01/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/01/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/01/2015 BARNES NOBLE BURLINGTON MA $ 5.46
04/01/2015 BARNES NOBLE BURLINGTON MA $ 2.68
04/02/2015 COMCAST BOSTON CS IX NH $ 171.15
04/02/2015 THE GROG RESTAURANT NEWBURYPC $ 43.29
04/02/2015 SHECHUAN TASTE NEWBURYPORT MA $ 21.14
04/02/2015 MICHAELS STORES SEABROOK NH $ 13.47
04/02/2015 ATOMIC CAFE NEWBURYPORT MA $ 8.78
04/02/2015 DUNKIN 332335 NEWBURYPORT MA $ 2.25
04/03/2015 BARNESNOBLE 1 WORCESTER FRAMIN $ : 56.52
04/03/2015 CUMBERLAND FARMS FRAMINGHAM f $ 30.01
04/03/2015 SHELL OIL NEWBURYPORT MA $ 20.22
04/03/2015 STARBUCKS SEABROOK NH $ 20.04
04/06/2015 SALT KITCHEN AND RUM BAR IPSWICH $ 136.37
04/06/2015 JO JO TAI PEI ALLSTON MA $ 82.65
04/06/2015 CK SHANGHAL WELLSLEY MA $ 62.55
04/06/2015 799 BOYLSTON ST BOSTON MA $ 60.00
04/06/2015 CHEESCAKE FACTORY PEABODY MA $ 40.56
04/06/2015 THE HOLLOW CAFE AMESBURY MA $ 31.58
04/06/2015 WOODMANS OF ESSEX ESSEX MA $ 31.40
04/06/2015 CUMBERLAND FARMS AMESBURY MA $ 30.04
04/06/2015 PRUDENTIAL CENTER GARA BOSTON ! $ 30.00
04/06/2015 CUMBERLAND FARMS AMESBURY MA $ 24.51
04/06/2015 HARVARD SQUARE PARKING CAMBRID $ 16.00
04/06/2015 STARBUCKS PEABODY MA $ 9.35
04/06/2015 STARBUCKS CAMBRIDGE MA $ 7.59
04/06/2015 STARBUCKS BOSTON MA $ 4.23
04/06/2015 NONTD ATM FEE $ 3.00
04/08/2015 SPICE THAI KITCHEN IPSWICH MA $ 112.85
04/08/2015 MORNING BUZZ CAFE AMESBURY MA $ 24.541
04/09/2015 3 SOUTH MAIN IPSWICH MA $ 102.50
04/09/2015 NONTD ATM FEE $ 3.00
04/10/2015 NATIONALGRID SYRACUSE NY $ 502.00
04/10/2015 TOWN FAIR TIRE SEABROOK NH $ 366.60
04/13/2015 SALT KITCHEN AND RUM BAR IPSWICH $ 143.08
04/13/2015 STOP SHOP AMESBURY MA $ 97.02
04/13/2015 JS OYSTER PORTLAND ME $ 66.48
04/13/2015 FM STATION NEWBURYPORT MA $ 54.57
04/13/2015 EXXONMOBIL WEST BARNSTAB MA $3 32.49
04/13/2015 HANSCOMS TRUCK STOP PORTSMOUT $ 30.92
04/13/2015 MARY MANSUR NEWBURYPORT MA $ 23.00
04/13/2015 POPEYES ME KENNEBUNK ME $ 21.59
04/13/2015 SUNOCO WENHAM MA $ 17.24

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04/13/2015 KELLIE BROOK FARM NEWBURYPORT $ 12.50
04/13/2015 STARBUCKS PEABODY MA $ 12.09
04/13/2015 UNIFIED PARKING PORTLAND ME $ 10.00
04/13/2015 ATOMIC CAFE NEWBURYPORT MA $ 9.73
04/13/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/13/2015 STARBUCKS PORTLAND ME $ 5.51
04/14/2015 ANJU KITTERY POINT ME $ 193.24
04/14/2015 SZECHUAN TASTE NEWBURYPORT M $ 32.98
04/14/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/15/2015 HONG KONG SUPERMARKET ALLSTON $ 43.54
04/15/2015 THE GROG RESTAURANT NEWBURYPC $ 35.79
04/15/2015 CUMBERLAND FARMS AMESBURY MA $ 20.60
04/15/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.51
04/16/2015 KANTIN BOSTOM MA $ 30.45
04/16/2015 CUMBERLAND FARMS AMESBURY MA $ 29.34
04/16/2015 PANERA BREAD DANVERS MA $ 17.09
04/16/2015 STARBUCKS PEABODY MA $ 7.06
04/16/2015 PANERA BREAD DANVERS MA $ 5.33
04/17/2015 BED BATH BEYOND DANVERS MA $ 111.47
04/17/2015 EXXONMOBIL DANVERS MA $ 35.00
04/17/2015 THE HOLLOW CAFE AMESBURY MA $ 30.25
04/17/2015 FM STATION NEWBURYPORT MA $ 20.85
04/17/2015 THAI GRILL SUSHI CAFE MA $ 10.50
04/17/2015 PAYPAL MYCOMMERCE ESELL MN $ 6.32
04/17/2015 MASTER WOK PEABODY MA $ 4.38
04/17/2015 OVERDRAFT $ 175.00
04/20/2015 BEST BUY NEWINGTON NH $ 164.98
04/20/2015 STARBUCKS CARD RELOAD WA $ 50.00
04/20/2015 THE GROG RESTAURANT NEWBURYPC $ 48.73
04/20/2015 CUMBERLAND FARMS AMESBURY MA $ 33.04
04/21/2015 EL BURRITO INC AMESBURY MA $ 53.40
04/21/2015 MARKET BASKET SEABROOK NH $ 35.69
04/21/2015 JOPPA FINE FOODS MA $ 19.85
04/21/2015 TJ TJ MAXX SEABROOK NH $ 9.99
04/22/2015 HANA JAPAN RESTAURANT NEWBURYI $ 31.20
04/22/2015 STARBUCKS KITTERY ME $ 22.83
04/22/2015 PANERA BREAD NEWBURYPORT MA $ 17.29
04/23/2015 PAYPAL MIUOLUI COM CA $ 161.00
04/23/2015 PAYPAL BALDOCKMIKE CA $ 118.14
04/23/2015 174 NEWBURYPORT TURNPIKE ROWLI $ 60.00
04/24/2015 GULF OIL NEWTON HIGHLA MA $ 20.13
04/24/2015 BANANA REPUBLIC OUTLET KITTERY ? $ 18.99
04/24/2015 STAPLES INC SEABROOK NH $ 8.52
04/27/2015 MARKET BASKET SEABROOK NH $ 89.36

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04/27/2015 NORDSTROM NATICK MA $ 68.80
04/27/2015 BARNACLE INC MARBLEHEAD MA $ 65.27
04/27/2015 PETCO 739 TOPSFIELD MA $ 53.10
04/27/2015 OLD FERRY LANDING REST PORTSMOL $ 51.42
04/27/2015 PAYPAL ICARBONSINC FL $ 49.95

43.10
31.68
31.09
30.80
30.34
26.89
22.30

04/27/2015 WHOLEFDS BLH BELLINGHAM MA $

04/27/2015 SHUN FENG SEABROOK NH $

04/27/2015 GULF OIL SALISBURY MA $

04/27/2015 CVS NEWBURYPORT MA $

04/27/2015 ANGIES FOOD DINER NEWBURYPORT I $

04/27/2015 POPOVERS ON THE SQUARE PORTSM( $

04/27/2015 EXXONMOBIL NEWBURYPORT MA $

04/27/2015 PRO CUT FRAMINGHAM MA $ 20.95

04/27/2015 THE JUICERY PORTSMOUTH NH $ 18.01

04/27/2015 NORDSTROM NATICK MA $ 10.00

04/28/2015 AT T BILL PAYMENT TX $ 118.96

04/28/2015 SICHUAN GARDEN WOBURN MA $ 21.83

04/28/2015 USPS COM DC $ 18.11

04/29/2015 PAYPAL OZGUNAYDINA SAN JOSE CA $ 70.00

04/29/2015 CUMBERLAND FARMS AMESBURY MA $ 31.84

04/29/2015 TUMI STORES INC WRENTHAM MA $ 30.81

04/30/2015 CHECKS #1622 $ 2,800.00

04/30/2015 STONEWALL CAFE YORK ME $ 109.35

04/30/2015 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 9,433.72

May
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 31,942.20
USAGE OF FUNDS
Fossa Business S 19,005.50
Clearly Personal S 6,130.65
Unable to determine S 3,853.35
TOTAL USAGE OF FUNDS § 28,989.50
05/01/2015 AMAZON COM SEATTLE WA $ 246.88
05/01/2015 CHEESCAKE FACTORY PEABODY MA $ 69.49
05/01/2015 AMAZON COM SEATTLE WA $ 36.67

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05/01/2015 SZECHUAN TASTE NEWBURYPORT M $ 33.25
05/01/2015 THE HOLLOW CAFE AMESBURY MA $ 31.00
05/01/2015 TEAVANA CHESTNUT HILL MA $ 20.92
05/01/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
05/01/2015 CRATE BARREL CHESTNUT HILL MA $ 14.84
05/01/2015 ATOMIC CAFE NEWBURYPORT MA $ 12.05
05/01/2015 AMAZON COM SEATTLE WA $ 9.99
05/01/2015 BREAKING NEW GROUNDS PORTSMOL $ 8.70
05/04/2015 88 EASTERN AVENUE ESSEX MA $ 102.00
05/04/2015 BRAZO RESTAURANT PORTSMOUTH f $ 99.66
05/04/2015 JO JO TAI PEI ALLSTON MA $ 96.24
05/04/2015 AMAZON COM BILL $ 48.50
05/04/2015 FM STATION NEWBURYPORT MA $ 22.18
05/04/2015 FUEL AMERICA BRIGHTON MA $ 21.89
05/04/2015 STARBUCKS CHESTNUT HILL MA $ 12.15
05/04/2015 NONTD ATM FEE 3 3.00
05/05/2015 REG OF MOTOR VEHICLE MA $ 60.00
05/05/2015 THE GROG RESTAURANT NEWBURYPC $ 51.57
05/05/2015 CUMBERLAND FARMS AMESBURY MA $ 36.57
05/05/2015 EXXONMOBIL NEWBURYPORT MA $ 21.03
05/06/2015 AMI AMICA INSURANCE RI $ 347.00
05/06/2015 AUTOZONE 519LAFAY SEABROOK NH $ 174.99
05/06/2015 TEN ICHI NATICK MA $ 140.00
05/06/2015 LORETTA NEWBURYPORT MA $ 35.92
05/06/2015 PAUL NATICK NATICK MA $ 14.82
05/06/2015 PAUL NATICK NATICK MA $ 6.33
05/07/2015 SHUN FENG SEABROOK NH $ 36.17
05/07/2015 GULF OIL AMESBURY MA $ 4.11
05/08/2015 NORDSTROM 0531 NATICK MA $ 45.80
05/08/2015 THE HOLLOW CAFE AMESBURY MA $ 21.93
05/11/2015 PAYPAL TIRERACK IN $ 640.56
05/11/2015 COMCAST BOSTON CS IX NH $ 170.85
05/11/2015 CEIA KITCHEN AND BAR NEWBURYPC $ 144.67
05/11/2015 EXXONMOBIL WAYLAND MA $ 36.49
05/11/2015 EXXONMOBIL WAYLAND MA $ 34.63
05/11/2015 EXXONMOBIL PORTSMOUTH NH $ 30.92
05/11/2015 THE JUICERY PORTSMOUTH NH $ 18.041
05/11/2015 STONEWALL KITCHEN YORK ME $ 6.95
05/12/2015 KANTIN BOSTON MA $ 62.35
05/42/2015 STONEWALL CAFE YORK ME $ 10.80
05/13/2015 SZECHUAN TASTE NEWBURYPORT M $ 24.87
05/13/2015 OVERDRAFT PD $ 105.00
05/14/2015 EVENTIDE OYSTER PORTLAND ME $ 237.36
05/14/2015 CVS AMESBURY MA $ 110.54

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05/14/2015 THE HOLLOW CAFE AMESBURY MA $ 29.30
05/14/2015 TJ TJ MAXX FRAMINGHAM MA $ 18.97
05/14/2015 OVERDRAFT PD $ 35.00
05/15/2015 OGA S JAPANESE CUISINE NATICK MA $ 149.74
05/15/2015 SNAPPY SUSHI NEWBURY ST BOSTON $ 33.32
05/15/2015 CIRCLE AMESBURY MA $ 28.62
05/15/2015 LAZ PARKING BOSTON MA $ 22.00
05/15/2015 OVERDRAFT PD $ 140.00
05/18/2015 MICHAEL S HARBORSI AMESBURY MA $ 94.25
05/18/2015 CUMBERLAND FARMS AMESBURY Mé $ 37.43
05/18/2015 ANGIES FOOD DINER AMESBURY MA $ ° 35.21
05/18/2015 CUMBERLAND FARMS AMESBURY MA $ 29.53
05/18/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
05/18/2015 RUSSELL ORCHARDS IPSWICH MA $ 14.40
05/18/2015 KELLIE BROOK FARM NEWBURYPORT $ 13.00
05/18/2015 CHOCOCOA BAKING NEWBURYPORT Wv $ 7.94
05/18/2015 KELLIE BROOK FARM NEWBURYPORT $ 6.75
05/18/2015 OVERDRAFT PD $ 140.00
05/19/2015 LE S RESTAURANT CAMBRIDGE MA $ 49.69
05/19/2015 UNIQLO NATICK FRAMINGHAM MA $ 25.80
05/19/2015 MELT GELATO CAFE NATICK MA $ 10.38
05/19/2015 PEETS CAMBRIDGE MA $ 7.10
05/20/2015 DIRECT TIRE AUTO SER NATICK MA $ 252.96
05/20/2015 SHABU ZEN ALLSTON MA $ 157.52
05/20/2015 CHARLES SQUARE GARAGE CAMBRIC $ 412.00
05/20/2015 NORDSTROM NATICK MA $ 7.33
05/21/2015 KANTIN BOSTON MA $ 57.95
05/21/2015 WASABI NATICK VA $ 53.55
05/21/2015 CUMBERLAND FARMS AMESBURY Mé $ 37.01
05/21/2015 THE HOLLOW CAFE AMESBURY MA $ 24.75
05/21/2015 PANDA EXPRESS BOSTON MA $ 21.29
05/22/2015 PRUDENTAL CENTER GARA BOSTON h $ 40.00
05/22/2015 THE HOLLOW CAFE AMESBURY MA $ 29.03
05/22/2015 HONG KONG SUPERMARKET ALLSTON $ 21.24
05/22/2015 THE JUICERY PORTSMOUTH NH 3 18.01
05/22/2015 BARNES NOBLE BOSTON MA $ 6.96
05/26/2015 LEGAL SEA FOODS CAMBRIDGE MA $ 93.61
05/26/2015 PORTSMOUTH BREWERY PORTSMOL $ 69.80
05/26/2015 PORTSMOUTH SAKE RESTAURANT POI $ 63.28
05/26/2015 STOP SHOP AMESBURY MA $ 58,25
05/26/2015 CVS AMESBURY MA $ 46.51
05/26/2015 CUMBERLAND FARMS AMESBURY Mf $ 34.80
05/26/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
05/26/2015 THE HOLLOW CAFE AMESBURY MA §$ 24.16

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05/26/2015 TJ TJ MAXX SEABROOK NH $ 19.97
05/26/2015 FRIENDLY S AMESBURY MA $ 16.67
05/26/2015 CVS AMESBURY MA $ 14.80
05/26/2015 PETSMART INC SEABROOK NH $ 13.59
05/26/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
05/26/2015 BREAKING NEW GROUDS PORTSMOU™ $ 6.10
05/27/2015 BROWN SUGAR BY THE SEA NEWBUR $ 62.50
05/27/2015 LOTUS FLOWER FRAMINGHAM MA $ 54.56
05/27/2015 THE GROG RESTAURANT NEWBURYPC $ 39.50
05/27/2015 NEW ENGLAND CLEANERS AMESBURY $ 38.25
05/27/2015 USPS GOM DC $ 18.11 :
05/27/2015 USPS AMESBURY MA $ 16.79
05/27/2015 USPS COM DC $ 16,35
05/27/2015 USPS AMESBURY MA $ 13.00
05/27/2015 GULF OIL AMESBURY MA $ 4.58
05/28/2015 PRO CUT FRAMINGHAM MA $ 30.95
05/28/2015 BOSTON BEER WORKS PIER BOSTON $ 20.12
05/29/2015 THE HOLLOW CAFE AMESBURY MA §$ 27.43
05/29/2015 HUDSON NEW EAST BOSTON MA $ 19.75
05/29/2015 STARBUCKS SAN DIEGO CA $ 16.75
05/29/2015 STARBUCKS DANA POINT CA $ 6.20
05/29/2015 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 6,130.65
June

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 50,397.60

USAGE OF FUNDS
Fossa Business S 34,301.86
Clearly Personal S 13,279.15
Unable to determine S 531.05
TOTAL USAGE OF FUNDS 5 48,112.06

06/01/2015 CHECKS # 1624 $ 2,800.00
06/01/2015 PAYPAL VOLLKOMMEND CA $ 2,050.00
06/01/2015 HOTWIRE SALES FINAL CA $ 550.52
06/01/2015 ATT BILL PAYMENT TX 3 306.45
06/01/2015 1515 OCEAN AVE SANTA MONJCA CA $ 203.95
06/01/2015 0296 FOREVER 21 SANTA MONICA C/ $ 60.04

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06/01/2015 USPS IRVINE CA $ 27.20
06/01/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
06/01/2015 MACY S EAST NEWPORT BEACH CA § 8.75
06/03/2015 WEATHERVANE SEAFOOD REST KITT: $ 80.36
06/03/2015 GULF OIL AMESBURY MA $ 36.41
06/03/2015 ANGIES FOOD DINER INC NEWBURY! $ 28.65
06/04/2015 USPS COM DC $ 29.17
06/05/2015 ANJU KITTERY POINT ME $ 56.60
06/05/2015 SZECHUAN TASTE NEWBURYPORT M, $ 33.10
06/05/2015 THE HOLLOW CAFE AMESBURY MA $ 30.03
06/05/2015 ATOMIC CAFE NEWBURYPORT MA $ 7.16
06/08/2015 KITTERY TRADING POST KITTERY ME $ 220.45
06/08/2015 BRINE OYSTER NEWBURYPORT MA § 111.71
06/08/2015 FARLEYS OF NEWBURYPORT NEWBUF $ 98.00
06/08/2015 POBERTS MAINE GRILL AND KITTER* $ 74.26
06/08/2015 PORTSMOUTH BREWERY PORTSMOU $ 54.83
06/08/2015 17 STATE STREET CA NEWBURYPORT $ 36.23
06/08/2015 THE JUICERY PORTSMOUTH NH $ 19.50
06/08/2015 OLFY 149 NEWBURYPORT MA $ 17.84
06/08/2015 KITTERY TRADING POST KITTERY M $ 8.42
06/08/2015 ATOMIC CAFE NEWBURYPORTMA = § 8.16
06/08/2015 STARBUCKS KITTERY ME $ 7.13
06/09/2015 COMCAST BOSTON CS IX NH $ 170.88
06/09/2015 ACAPULCOS AMESBURY MA $ 54.13
06/09/2015 PETSMART ING SEABROOK NH $ 24.68
06/09/2015 AUTOZONE LAFAY SEABROOK NH $ 14.99
06/10/2015 CVS NEWBURYPORT MA $ 82.90
06/10/2015 SHELL OIL REVERE MA $ 42.12
06/10/2015 SHUN FENG SEABROOK NH $ 34.08
06/10/2015 FM STATION AMESBURY MA $ 32.25
06/10/2015 THE HOLLOW CAFE AMESBURY MA § 27.43
06/10/2015 LAZ PARKING BOSTON MA $ 26,00
06/11/2015 9 TASTES CAMBRIDGE MA $ 59.50
06/11/2015 NO 1 NOODLE HOUSE NEWTON MA § 53.28
06/11/2015 GOURMET DUMPLING HOUSE BOSTON § 41.60
06/11/2015 STP SHPFUEL DANVERS MA $ 38.38
06/11/2015 STARBUCKS CAMBRIDGE MA $ 11.18
06/11/2015 CITY OF NEWBURYPORT NEWBURYP $ 1.50
06/11/2015 CITY OF NEWBURYPORT NEWBURYP $ 1.50
06/12/2015 BLACK COW TAP GRILL NEWBURYP $ 130.07
06/12/2015 MICHAEL S HARBORS! NEWBURYPOR™ $ 86.90
06/12/2015 17 STATE STREET CA NEWBURYPOR] $ 33.28
06/12/2015 CHARLES SQUARE GARAGE CAMBRIC $ 25.00
06/15/2015 GULF OIL CUMBERLAND RI $ 49.24

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06/15/2015 BAMBOO DEDHAM DEDHAM MA $ 32.36
06/15/2015 OVERDRAFT PD $ 140.00
06/16/2015 NORDSTROM 542 INDEPEN DANVERS $ 169.94
06/16/2015 USPS AMESBURY MA $ 40.50
06/17/2015 NATIONALGRID SYRACUSE NY $ 887.86
06/17/2015 NINE ELM AMERICAN BISTRO DANVE! $ 219.65
06/17/2015 AMAZON COM SEATTLE WA $ 87.47
06/17/2015 AMAZON COM SEATTLE WA $ 56.48
06/17/2015 AMAZON COM SEATTLE WA $ 48.50
06/17/2015 CUMBERLAND FARMS AMESBURY M $ 38.83
06/17/2015 USPS COM DC $ : 11.30
06/18/2015 CRATE BARREL KITTERY ME $ 163.53
06/18/2015 NONTD ATM DEBIT WITHDRAW LAFAY $ 103.00
06/18/2015 ELEGANT THEMES CA $ 89.00
06/18/2015 AUTOZONE 519 LAFAY SEABROOK NH $ 74.34
06/18/2015 FM STATION NEWBURYPORT MA $ 39,13

25.82
3.00

(414.24)

(350,00)
216.25
107.60
49.73
34.82
17.00
10.70
436.98

06/18/2015 THE HOLLOW CAFE AMESBURY MA $
06/18/2015 NONTD ATM FEE $
06/18/2015 CREDIT VISA FINAL CREDIT $
06/18/2015 CREDIT REVERSE OD FEES $
06/19/2015 KITTERY TRADING POST KITTERY ME $
06/19/2015 SPICE THAI KITCHEN IPSWICH MA $
06/19/2015 RISTORANTE MOLISE AMESBURY Mé $
06/19/2015 GULF OIL AMESBURY MA $
06/19/2015 THE JUICERY PORTSMOUTH NH $
06/19/2015 KMART NEWBURYPORT MA $
06/22/2015 DICK S CLOTHING SPORTING SEABROC $
06/22/2015 PAYPAL VOLLKOMMEND SAN JOSE C § 247.00
06/22/2015 SHIO JAPANESE RESTAURA PORTSMC $ 182.01
06/22/2015 17 WALKER ST KITTERY ME $ 103.50
06/22/2015 BROOKSTONE 217 KITTERY ME $ 81.66
06/22/2015 IN SYNAPTIC3 ENGINEERIN NH $ 76.34
06/22/2015 MARSHALLS MARSHALLS NEWBURYP $ 52.79
06/22/2015 PETSMART SEABROOK NH $ 43.48
06/22/2015 EXXONMOBIL HAMPTON NH $ 30.05
06/22/2015 THE HOLLOW CAFE AMESBURY MA $ 28.23
06/22/2015 SHUN FENG SEABROOK NH 3 27.70
06/22/2015 AMAZON COM BILL WA $ 9.04
06/22/2015 NONTD ATM FEE $ 3.00
06/23/2015 ANJU KITTERY POINT ME $ 49.12
06/23/2015 ANGIES FOOD DINER INC NEWBURYI $ 33.35
06/23/2015 STONEWALL CAFE YORK ME $ 18.63
06/23/2015 ATOMIC CAFE NEWBURYPORT MA $ 4.27
06/24/2015 THE PORT TAVERN NEWBURYPORT $ 75.00

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06/25/2015 SUPINOS RESTAURANT DANVERS Mé $ §3.45
06/25/2015 CVS NEWBURYPORT MA $ 21.23
06/25/2015 CHOCOCOA BAKING CO NEWBURYP $ 8.67
06/26/2015 NORDSTROM 546 WORCESTE FRAMINC $ 150.85
06/26/2015 RIVERSIDE CYCLE NEWBURYPORTM $ 124.99
06/26/2015 ANTHROPOLOGIE 4 ANTHROPO NATIC $ 119.96
06/26/2015 BEST BUY NEWINGTON NH $ 99.99
06/26/2015 NAILS NEWBURYPORT MA $ 70.00
06/26/2015 STARBOARD GALLEY NEWBURYPOR’ $ 51.19
06/26/2015 GULF OIL AMESBURY MA $ 35.65
06/26/2015 TJ TJ MAXX FRAMINGHAM MA $ . 34.99
06/26/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
06/29/2015 ATT BILL PAYMENT TX $ 260.66
06/29/2015 LULULEMON NATICK MALL MA $ 168.00
06/29/2015 SICHUAN GOURMET FRAMINGHAM MA $ 94.27
06/29/2015 NORDSTROM NATICK MA $ 81.81
06/29/2015 SHIO JAPANESE RESTAURA PORTSM $ 64.86
06/29/2015 BROWN SUGAR BY THE SEA NEWBUR $ 50.34
06/29/2015 AMAZON COM SEATTLE WA $ 37.02
06/29/2015 PRO CUT FRAMINGHAM MA $ 35.95
06/29/2015 EXXONMOBIL FAIRFIELD CT $ 34.60
06/29/2015 USPS COM DC $ 34.46
06/29/2015 PHO PASTEUR BOSTON MA $ 31.35
06/29/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
06/29/2015 GULF OIL AMESBURY MA $ 25.33
06/29/2015 EXXONMOBIL. NORTH HA CT $ 20,00
06/29/2015 LAZ PARKING BOSTON MA $ 16.00
06/29/2015 SBARRO EAST BOSTON MA $ 15.16
06/29/2015 NORDSTROM NATICK MA $ 12.68
06/29/2015 STARBUCKS NEW CANAAN CT $ 12.02
06/29/2015 BEARD PAPA S BOSTON MA $ 11.36
06/29/2015 NONTD ATM FEE $ 3.00
06/30/2015 MAINTENANCE FEE $ 15.00

Total PERSONAL $ 13,279.15

July
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 60,862.67
USAGE OF FUNDS

Fossa Business S 54,217.02
Clearly Personal S 13,676.50

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4,207.29
72,100.81

Unable to determine
TOTAL USAGE OF FUNDS

"a 1

19.95
2,800.00
123.17
87.00
73.48
21.66
8.19
1.05
48.45
10.58
7.07
2.91
183.02
387.73
367.28
344.99
145.57

07/01/2015 INTUIT PYMT SOLN ACCT FEE $
07/02/2015 CHECKS #1627 $
07/03/2015 AKUREYRARAPOTEK EHF AKUREYRI $
07/06/2015 ZHU LI IAT PAYPAL 3
07/07/2015 MAL OG MENNING REYKJAVIK ISL = $
07/08/2015 KAUPMADURINN ISAFIRDI ISAFJORDU! $
07/08/2015 LYFJA LAUGAVEGI KOPAVOGUR ISL $
07/08/2015 ITUNES COM BILL CA $
07/09/2015 UPS GA $
07/09/2015 UPS GA $
07/09/2015 UPS GA $
07/09/2015 UPS GA $
07/10/2015 ZO ON BANKASTRATI KOPAVOGUR IS $
07/43/2015 COMCAST BOSTON CS IX NH $
07/13/2015 ATT BILL PAYMENT TX $
07/43/2015 KITTERY OUTLET KITTERY ME $
07/13/2015 KITTERY TRADING POST KITTERY MI $
07/13/2015 ROBERTS MAINE GRILL AND KITTER’ $ 116.74
07/13/2015 J M FACTORY KITTERY ME $ 88.09
07/13/2015 LEVIS OUTLET KITTERY ME $ 84.38
07/13/2015 GULF OIL AMESBURY MA $ 40.25
07/13/2015 CHOCOCOA BAKING NEWBURYPORT § 15.58
07/13/2015 ATOMIG CAFE NEWBURYPORT MA §$ 14.86
07/13/2015 STARBUCKS KITTERY ME $ 13.92
07/14/2015 BRINE OYSTER NEWBURYPORT MA § 268.80
07/14/2015 COLE HAAN KITTERY KITTERY ME §$ 235.48
07/14/2015 DUTY FREE STORE REYKJANEBER IS $ 83.27
07/14/2015 KITTERY POINT ME $ 69.40
07/14/2015 SZECHUAN TASTE NEWBURYPORT M,. $ 21.14
07/14/2015 USPS NEWBURYPORT MA $ 16.95
07/14/2015 CHOCOCOA BAKING NEWBURYPORT $ 12.68
07/14/2015 ATOMIC CAFE NEWBURYPORT MA $ 7.46
07/14/2015 CHOCOCOA BAKING NEWBURYPORT §$ 2.68
07/15/2015 THE PORT TAVERN NEWBURYPORT f $ 54.55
07/15/2015 FM STATION NEWBURYPORT MA $ 29.65
07/15/2015 ATOMIC CAFE NEWBURYPORT MA $ 7.16
07/16/2015 750 LAFAYETTE RD PORTSMOUTH NH $ 43.50
07/16/2015 COLBY FARM NEWBURY MA $ 33.38
07/16/2015 NONTD ATM FEE $ 3.00

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07/17/2015 61 HARRISON AVE BOSTON MA $ 203.00
07/17/2015 OFF FIFTH WRENTHAM MA $ 161.99
07/17/2015 RISTORANTE MOLISE AMESBURY MA $ 87.70
07/17/2015 BROWN SUGAR BY THE SEA NEWBUF $ 83.16
07/17/2015 GULF OIL AMESBURY MA $ 41.22
07/17/2015 DUNKIN PORTSMOUTH NH $ 14.08
07/17/2015 DUNKIN NEWBURYPORT MA $ 4.28
07/17/2015 NONTD ATM FEE $ 3.00
07/20/2015 ELECTRONIC PMT-WEB PAYPAL INST $ 179.89
07/20/2015 MARKET SQUARE PORTSMOUTH NH $ 103.00
"07/20/2015 CREW FACTORY STORE KITTERY ME $ 75,32
07/20/2015 CEIA KITCHEN AND BAR NEWBURYF $ 67.29
07/20/2015 THE HOTEL PROVIDENCE RI $ 65.44
07/20/2015 EMPIRE GARDEN RESTAURANT BOST $ 56.05
07/20/2015 ASPIRE PROVIDENCE RI $ 53.38
07/20/2015 BR OUTLET USA KITTERY ME $ 48.60
07/20/2015 BROWN SUGAR BY THE SEA NEWB! $ 47.66
07/20/2015 USPS COM DC $ 43.70
07/20/2015 THE HOLLOW CAFE AMESBURY MA § 36.33
07/20/2015 BOSTON COMMON PARK BOSTON Mé $ 18.00
07/20/2015 BOSTON COMMON PARK BOSTON Mé $ 18.00
07/20/2015 NONTD ATM FEE $ 3.00
07/21/2015 BLACK COW TAP GRILL NEWBURYP §$ 110.63
07/21/2015 STONEWALL CAFE YORK ME $ 62.32
07/21/2015 SRARBUCKS CARD RELOAD WA $ 50.00
07/21/2015 CORNERSTONE OGUNQUIT ME $ 43.80
07/22/2015 AGAVE MEXICAN BISTRO NEWBURYF $ 128.16
07/22/2015 RISTORANTE MOLISE AMESBURY Mf $ 64.91
07/22/2015 LEOS HOUSE OF PIZZA NEWBURYPC $ 42.00
07/22/2015 SZECHUAN TASTE NEWBURYPORT WM $ 18.94
07/22/2015 ONLINE PAYMENT LONDON G BR $ 18.00
07/23/2015 BH PHOTO MOTO NY $ 3,976.52
07/23/2015 AMAZON COM SEATTLE WA $ 280.19
07/23/2015 THE HOLLOW CAFE AMESBURY MA $ 26.09
07/23/2015 MORNING BUZZ CAFE AMESBURY MA $ 21.98
07/23/2015 ATOMIC CAFE NEWBURYPORT MA §$ 12.11
07/24/2015 BEST BUY NEWINGTON NH $ 171.96
07/24/2015 SHELL OIL NEWBURYPORT MA $ 40.04
07/24/2015 TJ TJ MAXX SEABROOK NH $ 35.94
07/24/2015 ACH IAT DEBIT LI XIAO ZHU IAT PAY $ 33.17
07/24/2015 SHUN FENG SEABROOK NH $ 27.32
07/24/2015 AMAZON COM SEATTLE WA $ 11.95
07/24/2015 MORNING BUZZ CAFE AMESBURY MA $ 9.46
07/27/2015 SHIO JAPANESE RESTAURA PORTSM $ 146.39

Page 30 of 31
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07/27/2015 GREENLAND GREENLAND NH $ 85.90
07/27/2015 PORTSMOUTH BREWERY PORTSMOU §$ 84.85
07/27/2015 CIRCLE AMESBURY MA $ 39.12
07/27/2015 ITUNES COM BILL CA $ 38.97
07/27/2015 THE PORT TAVERN NEWBURYPORT W $ 38.50
07/27/2015 THE HOLLOW CAFE AMESBURY MA §$ 27.43
07/27/2015 SBARRO EAST BOSTON MA $ 25.41
07/27/2015 SUPERCUTS MA $ 23.95
07/27/2015 17 STATE STREET CA NEWBURYPORT $ 23.17
07/27/2015 CHOCOCOA BAKING NEWBURYPORT $ 14.18
07/27/2015 JING LONG CHEN NEWBURYPORT M. $ 10.35 ,
07/27/2015 USPS COM DC $ 10.10
07/27/2015 ITUNES COM BILL CA $ 4.23
07/27/2015 PAY BY PLATE MA $ 4,00
07/27/2015 CITY OF PORTSMOUTH NH $ 1.25
07/28/2015 AMI AMICA INSURANCE RI $ 415.20
07/28/2015 THE HOLLOW CAFE AMESBURY MA $ 53.20
07/28/2015 APA ONBOARD DUTY FREE KEFLAVIK $ 26.18
07/29/2015 TIGER ISLAND REYKJAVIK ISL $ 22.37
07/30/2015 ISAFJARDARAPOTEK ISAFJORDUR ISL $ 3.96
07/31/2015 HEILSUHUSID LAUGAVEGI REYKJAVIK $ 83.19
Total PERSONAL $ 13,676.50
Total

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 435,552.40

USAGE OF FUNDS
Fossa Business 5 288,916.53
Clearly Personal S 116,137.07
Unable to determine 5 53,414.01
TOTAL USAGE OF FUNDS S 458,467.61

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Exhibit
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i) Bank

Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

America’s Most Conventent Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC , Page: 3 of 12
Statement Period: Feb 01 2015-Feb 28 2015
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE DESCRIFTION AMOUNT
27 eTransfer Credit, Online Xfer : 98.84
Trensfer from CK!
2/19 eTransfer Credit, Online Xfer 4,580.00
Transfer from CK
2/20 eTransfer Credit, Online Xfer 1,130.00
Transfer from CK
2/20 eTransfer Credit, Online Xfer 370.61
Transfer from CK.
2/24 eTransfer Credit, Online Xfer 166.88
Transfer from CK
2/25 eTransfer Credit, Online Xfer 934,64
‘ Transfer from CK ,
2/26 eTransfer Credit, Online Xfer 14,600.00
Transfer from C.
2/26 eTransfer Credit, Online Xfer 3,400.00
Transfer from
2/27 POS CREDIT, AUT 022715 DDA PURCH REF 81.66
BROOKSTONE 217 KITTERY *ME .
Subtotal: 48,965.19
Checks Paid No, Checks: $ For online bill pay costomers, checks numbered "99XXCKX" likely represent payments to a Biller that were”
delivered os a paper check, Funds were withdrawn trout your sscount when the check was cashed, You can view
those cleared checks in the Account History section of Online Banking.
*Tndicates break in setial ecquenca or check processed electronically and fisted uoder Electronic Payments .
DATE SERIAL NO. AMOUNT DATB SERIAL NO. AMOUNT
2/6 1606 150.00 2/6 1611 1,730.00
2/6 1609 49.00 2/13 1614* 630.00
2/13 1610 1,120.00
Subtotal: 3,679.00
Electronic Payments - ,
POSTING DATE DESCRIPTION AMOUNT
2/2 DEBIT CARD PURCHASE, AUT 012915 VISA DDA PUR 132.31
UNO REYKJAVIK ISL
2/2 DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR 120.83
COMCAST CABLE COMM 800 COMCAST * MA
2/2 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 95.00
SQ AIRPORT TRANSPORTATI NEWBURYPORT * MA

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page: . 4o0f 12
DAILY ACCOUNT ACTIVITY

Statement Period: Feb 012

Cust Ref &:

Primary Account #: °
Electronic Payments (continued)

POSTINGDATE DESCRIPTION AMOUNT
"22 DEBIT POS, AUT 013115 DDA PURCHASE 93.04
MARSHALLS MARSHALLS = NEWBURYPORT * MA
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2/2 DEBIT CARD PURCHASE, AUT 013115 VISA DDA PUR , 66.53
RISTORANTE MOLISE AMESBURY *MA

E=Sr>
2/2 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 46.76
HUDSON NEWS 280LN —- EAST BOSTON * MA

ana
2/2 DEBIT CARD PURCHASE, AUT 013115 VISA DDA PUR 35.64
FRIENDLY S 1072 AMESBURY *MA
a=
2/2 DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR 32.10
CIRCLE K 07501 AMESBURY *MA
a= =>
2/2 DEBIT CARD PURCHASE, AUT 020115 VISA DDA P 24.18
FRIENDLY S 1072 4. AMESBURY *MA

ae
2/2 DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR 22.72
MORNING BUZZ CAFELLC AMESBURY *MA

eS
2/2 DEBIT CARD PURCHASE, AUT 012915 VISA DDA PUR 20.01
SANDHOLT REYKJAVIK ISL
eS
2/2 CCD DEBIT, INTUIT PYMT SOLN ACCT FEE 524771002082801 19,95
2/2 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 13.43
SANDHOLT REYKJAVIK ISL
ssa seas
2/2 DEBIT CARD PURCHASE, AUT 012915 VISA DDA PUR 12.79
NORD REYKJAVIK ISL
qa
2/3 DEBIT CARD PURCHASE, AUT 013115 VISA DDA PUR 2,219.38
ICELANDAIR 10837458161 REYKJAVIK ISL

Qa
2/3 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR "+ 101.53
DURGIN PARK BO10328177 EASTBOSTON * MA

2/3 DEBIT CARD PAYMENT, AUT 020115 VISA DDA PUR 79.95
BIGCOMMERCE COM 5123811350 * TX ,

eae
2/3 DEBIT CARD PAYMENT, AUT 020215 VISA DDA PUR 49.94
VOC ICONTACTEMAIL MKT SV 8779683996 * MD

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Bank

ENCOMPASS COMMUNICATIONS INC

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT ,
Page: 5 of 12
Statement Period: Feb 01 2015-Feb 28 2015
Cust Ref #:
Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

2/3 . DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 17.38
PET CITY SEABROOK *NH

2/3 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 12,29
DUNKIN 306337 Q35 AMESBURY *MA

2/3 DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR 10.91
FREEDOM VOICE SYSTEMS 2 800 477 1477 * CA

2/4, peatt Rp BORN. AUT 020315 VISA DDA PUR 565.00
VSNIES IP EPERMIT MD IM_~=—- 866 457 7248 * MD

2/4 pen PERRO PREM ase, AUT 020315 VISA DDA PUR 150.00
VSNIES IP EPERMIT MD IM 8664577248 * MD

2/4 DEBIT CARD PURCHASE, AUT 020215 VISA DDA PUR — 99.00
THE LAUNDROMAT CAFE REYKJAVIK ISL

2/4 DEBIT CARD PURCHASE, AUT 020215 VISA DDA PUR 81.13
VEITINGARHUSID GREIFINN REYKJAVIK ISL .

2/4 DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR 20.47
HEIMABAKARI EHF = HUSAVIK ISL

2/5 DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR 173 A4
HOTEL KEA EUR AKUREYRI ISL

2/5 DEBIT CARD ae AUT 020315 VISA DDA PUR . 119.39
KEA VEITINGAR AKUREYRI ISL

2/5 DEBIT CARD PURCHASE, AUT 620415 VISA DDA PUR 63.94
LEVIS BUDIN GLERARTORGI KOPAVOGUR ISL

2/§ DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR 43.63
SOLKUVEITINGAR BHF HUSAVIK ISL

2/6 pest CARS PURCHASE, AUT 020515 VISA DDA PUR 160.83
HUSASMIDJAN HUSAVIK HUSAVIK ISL

2/6 DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR 140.74

HOTEL KEA HARPA AKUREYRI ISL

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page:

Statement Period: Feb 01 2015-Feb 28 205
Cust Ref #:
Primary Account #:

6 of 12

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

2/6 DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR 125.24
RUB 23 AKUREYRE ISL

2/6 oe eee, AUT 020615 VISA DDA PUR 47.74
PENGS RESTAURANT AKUREYRI ISL

2/6 orate a PURCHASE, AUT 020415 VISA DDA PUR 46.44
VEITINGARHUSID GREIFINN REYKJAVIK ISL

2/6 bes ee AUT 020415 VISA DDA PUR. 38.07
SIMINN VERSL AKUREYRI REYKJAVIK ISL

2/6 pues CHRO PORE, AUT 020415 VISA DDA PUR 17.05
KEA VEITINGAR AKUREBEYRI ISL

2/9 neat CARD PURCHASE, AUT ‘020515 VISA DDA PUR 134.03
HOTELKEA HARPA AKUREYRI ISL -

2/9 peat CARD PURCHASE, AUT 020515 VISA DDA PUR 94,73
SOLKUVEITINGAR EHF HUSAVIK TSL

2/9 beet CRED PURCHASE, AUT 020615 VISA DDA PUR. 91.93
SAMKAUP URVAL HUSAVIK 26 HUSAVIK ISL

2/9 , DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR 83.07
SOLKUVEITINGAR EHF HUSAVIK ISL

2/9 DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR 49.91
1011 LAUGAVEGUR REYKJAVIK ISL .

2/9 veal CAE a... AUT 020515 VISA DDA PUR 47.56
SOLKUVEITTINGAR EHP HUSAVIK = =ISL

2/9 peat CARD PURCHASE, AUT 020715 VISA DDA PUR 48.27
SOLKUVEITINGAR EHF HUSAVK ISL

2/9 veer CARD PURCHASE, AUT 020715 VISA DDA PUR 272)
NANATHAI REYKJAVIK ISL

2/9 DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR 15.59
HUSASMIDJAN HUSAVIK HUSAVIK ISL

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Bank: Deposits FDIC Insured | TD Bank, N.A. | Equal Honsing Lender @

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Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC

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Page:

Statement Period: Feb 01 2015-Feb 28 201
Cust Ref #:

Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)
POSTING DATE DESCRIPTION
2/10 , DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR
NATIONAL GRID 800 233 5325 * NY
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2/10 DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR
BANTHAI REYKJAVIK ISL

2/10 DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR
NOODLE STATION REYKIAVIK. ISL

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2/10 DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR
ELDUR IS REYKJAVIK ISL

2/10 DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR
SANDHOLT REYKJAVIK ISL

2/10 DEBIT CARD PURCHASE, AUT 020815-VISA DDA PUR
KAFFIVEROLD LAUGAVEGI 77 HAFNARFIORDURI SL
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2/10 DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR
PENNINN EYMUNDSSON 77L REYKJAVIK ISL

2/1 DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR
SIMINN VERSL ARMULA REYKJAVIK ISL

Sa
21 DEBIT POS, AUT 021115 DDA PURCHASE
NATIONALGRID OC = SYRACUSE * NY

2/11 DEBIT CARD PURCHASE, AUT 021015 VISA DDA PUR
VZWRLSS IVR VN 800 922 0204 * NJ

2/11 DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR
MARELLA REYKJAVIK ISL

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ail DEBIT CARD PURCHASE, AUT 021015 VISA DDA PUR
ANDOVER AIRPORTTR LAWRENCE *MA

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2/LY DEBIT CARD PURCHASE, AUT 021015 VISA DDA PUR
POSTURINN REYKJAV 101 REYKJAVIK ISL

2/11 DEBIT CARD PORCHASE, AUT 020715 VISA DDA PUR
HARRY S REYKJAVIK [SL

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AMOUNT
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fp) Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC

Page:
Statement Period: Feb 01 2015-Feb 28 2015

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Cust Ref #:
Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

2. DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR .. 29.99
ASIA REYKJAVIK ISL

v1 enh RED aren. AUT 021015 VISA DDA PUR 22.62
SHUN FENG SEABROOK *NH

2/li peu TEARS PURCHASE, AUT 020915 VISA DDA PUR 18.00
PENNINN EYMUNDSSON77L REYKJAVIK ISL

2sit DEBIT CARD PURCHASE, AUT 021015 VISA DDA PUR 11.68
HARRY S REYKJAVIK ISL

2/il oenbPearen PURCHASE, AUT 021015 VISA DDA PUR 7.94
ROW44ICELANDAIR WIFI 3545050100 *CA

22 DEBIT POS, AUT 021215 DDA PURCHASE 155,88
NATIONALGRID 04C SYRACUSE *NY

2/12 one FERED FORCEASE, AUT 021015 VISA DDA PUR . 98.84
UNO REYKJAVIK ISL

2/12 oF POS, AUT 021215 DDA PURCHASE 43.11
CVS 00073 AMESBURY *MA

2/12 peat Poe aT Os DDA PURCHASE 32.97
AMAZON COM SEATTLE * WA

2/12 DEBIT CARD PURCHASE, AUT 021115 VISA DDA PUR - 23.23
FM STATION CAFE NEWBURYPORT *MA ‘

2/12 DEBIT CARD PURCHASE, AUT 021015 VISA DDA PUR 6.51
DUNKIN 340212 Q35 EBOSTON *MA

2/13 DEBIT CARD PURCHASE, AUT 021315 VISA DDA PUR 469.23
STUDIO BRAUD KOPAVOGUR ISL

2/13 DEBIT POS, AUT =. DDA PURCHASE 30.17
CUMBERLAND FARMS 2035 AMESBURY * MA’

27 DEBIT CARD PURCHASE, AUT 021615 VISA DDA PUR 143.88
HST TRSFOUNDATION ORG 866 5734678 * UT

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Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 119 of 195

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Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 120 of 195

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Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 121 of 195

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LNNO30V dO LNSWALYLS @{UBg ZUSIUZAUDD IsOW] SoveWY

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S sepa] Sammoy Raby |-WN URE CLL | Panso] Qc upd TEEG

WOO"FUEGP)' MMM O} JOBUECD JO SdOIAIOS SUOyg-Aq-yUB_ MOYy-p7 JO OOOL-LPL-008-T 18D

ED

“WO « CELL SE6 COP ZGYVNDACOT TwdAVd

06°62 UNd Vad VSIA STPOL0 LAV ER ay" 8/L

‘ ISI WIAVIMATA =WOD NOAPSIAVOIATE AMM
96°LOL wNd VAC VSIA $1700 LOY “ESVHOUNd GUVO Ligad 8/L

. TSI WIAVOIARYL § SSeL09180l UIVANVTAO!
90°S6S‘1 "Nd VGC VSIA $1900 LAV “ASVHOUNd Avo Liaaa 8/b

IS) WAVOLIATE adhd NVISNNGAEAV A

90° Ud VAC VSIA $1€040 LAV whee Ut

TSI MIAVIIATL SHa NVISNNSYIIVA

TS Und Vdd VSIA ST€0L0 LAV Se eye LiL
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SCI aNd Vad VSIA $T £020 LAV “ASVHOUNd CUVO Liga lik
IS! SAVOIARYL NIVIVESLIONNWAG
scet WNd VAC VSIA $1S0L0. LAV ‘ASVHOUNd CUVD Leda Lit
TSI SOAVISATE 29 NNENLLLOATVUO
LT9% UNd VAC VSIA S190L0 LAV ‘ASVHOUNd aavD ya LiL
TSI WAYMAT YVISY
CH LT WNd Vdd VSIA SLE0L0 LAV “ASVHOuNnd ime yac LiL
, TSI WIAVMIARY VISV
LB67 Wd Vad VSIA S1S02Z0 LAV “SASVHOUNd auvo Liddd LIL
ISLE MIAV{MARS LTOHANVS
OVLy Wd Vdd VSIA STE0L0 LAV “ASVHOUNd Gayo Ligaa lit
ISI MIAVDIATS NNIIDLLOX IVA
yOLS wd Vdd VSIA $190L0 LAV “ASVHOUNd Aavo Lada Ul
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TST MAVDIAda VAVOIN ISVdVISVId MAY
ele aNd Vdd VSIA $1900 LAY “ASVHOUNd Cuvo Ligad 8/L

TSI WAVIXARY VAVOIN [SVadVISVIa MAU ‘
Ele UNd VAC VSIA $190L0 INV “ASVHOUNd CVO Ligda 8/L

TSI WAVOIARL VAVGIN [SVCVISVIE SAU -

gle , Ud VAC VSIA $190L0 LAV “ASVHOUNd a " YL

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6C'0L Nd VAC VSIA $190L0 LV ‘aSVHOUNd CAV) LIGsa B/L
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soo UNd VC VSIA $1800 LAV ‘ASvHOUNd GUVD Liaad OUL
181 MIAVMIAIN Ha NVISNNEUELTYY
CEL UNd VAC VSIA $18020 LAV “ASVHOUNd AUVO Ligaa OWL
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SSE Wd Vdd VSIA. 618020. LAV ‘ASVHOUNd Gav LiIdaa OUL
TSI SIAVfAASA ~NNTIVEINSNS YVSVAOL LOX
60'LS UNd VAC VSIA $160L0 LAV “ASVHOUNd auyo Ligaa OL
ISI UNDOAVdOA | ILVWLSVANVE NO OZ
Z0°E81 UNd Vdd VSIA $180L0 LAV ‘AS¥HOUWNd Gayo Ligad OL
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16Z Ud Vd VSIA $1040. .LNV ‘ASVHOUNd auvo Liasa Gil
TST UWNhaUoravsl JHA DAOCVaN VA
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VD « S91 118008  —§ SPIZOAKOLKOOOONE Sdn
LOL UNd Vad VSIA $14020 LAV ‘ASVHOUNd Guvod Lesa 6/L
. VO « SP91 118008  — S8IZOAOLXOO0000 San
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97 8T Wd VAC VSIA ST80Z0.LNV ‘ASVHOUNd AYVO Lraga GL
VD « SPOLITS008  — SSIZOAOLKO00000 Sdn
SbSb UNd Vd VSIA $120L0 LAV “ASVHOUNd GUvo Ligga 6iL
IS] UNCYOLITVSI GISNH NNIGGOX
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FT WAVOUAGY AJAHALNVENVLISTd WYNIZIA

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VWs LLLOSLYSL6 SNVULINOdYIY YZACGNY

00°S6 UNd VA VSIA SILIZO ENV “ASVHOUNd auvy Lead €VL

WNe AYSLIM GNV TIM ANIV SLEREOU .

PLOT UNd VA VSIA SITIZO LAV “ASVHOUNd GUVo Ligaa €l/L
AAs AYSLIX  LSOd ONIGVEL AVALIDI

LOST Ud VAC VSIA ST11Z0 LNV ‘ASVHOWNd GUVD Liaaa el
AN « €2Z€ ZE 008 GMD TYNOLLYN

SE891 Nd Vdd VSIA $160L0 LOV ‘ASVHOUNd aUvo Lidad eV
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ale WNd Vdd VSIA S160L0. LAV “ASVHOUNd CYVO Leda eV/L
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wel UN VA VSIA SELIZO. LAV “ASVHOUNd Gavo Liaaa e/L

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WA e LdOdAANGMIN NYAVI LUOd FHL
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‘asnoysajyBneys ay} Aq asoj>
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pueja>| ‘Anua ,as0ys Jo, ay YUM “AlleNpIAipul pasapisuos Bujeq aye ased yoea pue auljapin6 e sem URIIUS Woy ainpacoid uoNeNsIBa2 aU

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| 499M al payels UOseas Ja,4Bne}s ay) 0} anq ‘UOIUppe NI ‘pezijees 0} Bulpuny jeuonippe auinbas JIM ya>JeW ay} dn x90] pue ssauisnq si}

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med au} ,,BuiAng,, Buipnpu! susoy ay} uleyqo 0} parewUsa sem MOS$ JeAul ay! ‘syUauWayNbas pue suse2u02 JNOA He UM paasBe pue 'asinod 40

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“SPEPUOD JaJIp 4194} YM BW aplAoid Jou Pinom ueWYS 3nq ysiA sey AW GuuNp sn yy juawaaiBe 0} awed pey

OM JUPND pue UOF JO} UOREUUOJUY JeqUOD a4} AjUap! oO} BuiAR Yep O6 uewtYs aseo Ui Ue; dr yDeq e YsiGeyse 07 BuIA eC aaey Apeaye |
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2 daa 03 An IIIM | S19P[Oy papod 10}02 YM WoO, BulUIp AW ul 23e19 Bury essoj ayy uaas aney NOK }! MOU JOU OP | ‘Aiessadau $I 11 ssajun
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Yi S! 7EYM ‘ejdwiexe JO4 ‘ajqissod 4! sued] Yyse> 104 paau ay} UBSSa] UBD 72} SJUBAS MOY YSe> BWOS JO} Ue|d djay aseajd asojasay) “2328 ‘Hulddiys
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S}djaze4 pue sad1onul aus puas aseajd ‘sn 10} Buidaay piodad suo Y1e}5 0} 3>!| Pjnom | pue sasuadxe pue sadaid Bulaow Jo yo] e aie auayy ‘os|y:

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oy 404 Aso peputen einna the a out Buyronrep Jo4 Sjasuodsa queBe 40 BeKoidiue Oty JOU 40 TUBid>>a1 pepusiu! ey }OU Sj OBEBSOW SIU) Jo epee! el 1] ‘pessaIppe s] 31 YOIyM O} AUD 10 lenp|Ajpul Buy Jo ssn

a1Q8dydde Jepun eansopsip woy idusexa ‘JeqLepyuod ‘paBayaud s) ‘( yj PakjusuEN sag AUG PUB S]M@UCO gy 50 ye Buipnjouy ‘aBessaw sag uy uOneUUOJU) sy) spUaWayEIS ANeLapyUON

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Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 188 of 195

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00°00r$ (THLOH SVD) IOVud
00°009'T$ FONVHO LESAOLL
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‘sjdiadai pue sadioaul uay) pue

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aye sayy se MOU paziuebio Alan aq 0} JUeHOduy! SI 3! YUIY | ‘AemAUY “esso4 OJU! WAY} JaUJe! BLU 0} 2eq SBIUOW JA a4} 126 0} a>}] PJNOM | ‘os|y

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Case 1:16-cv-11914-LTS Document 4 Filed 09/21/16 Page 190 of 195

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‘Bulpiodas asuadxa snod buipiebas

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6z'8l$ 6281S Sday10M JOY sInUOg ,UpUNG] G1-AON-9L
g6'80z$ + 98°80z$ | SuJOY JO} SOS|p MBS puB JayNg — samo] GL-AON-SL
67'S 62'8L$ Sia4JOM JO} SinuOg ,uLjUuNG] Gp -AON-Z1
LeSz$ L6°Sz$ suojeujdsas ‘auempey SAN®YT SL-AON-Zh
Or'i9$ or iss UDEW YM Buneaw uBjsap - yes! gy-AoN-1p
92°SL$ 92'S1$ ~ S100) Bujueej9 wioy ‘auempley] SA] St-AONraO
6r'L6$ « 6r' Les (s1ax10m 40} juauidiys Jolew js1y ‘onaIg Jad) BZZiqj JO @sNo}} soe] GL-AON-BO
eOPLS eo'rls S18440M JO} SinuOg UpuNG] SL-AON-6O
86'91$ 86'91$ SeUusnig - $100) Buues|o WOH “asemplEL] SAyey] GE-AON-ZO
89'6S$ a9°6S$ esnoyareM 40} Sayddng Bujueerd SAD] Si-AoN-g0
QL'6$ 82'6$ $13340M JO} SynuOK uyUNG] gL-AeW-L)
SL'9%$ SL'9%$ S/810M 10} Sanoj6 pue Syseus “oieMpIEH SANOD| GT-AON-SD
SE'6L$ SEES SJa}J0M 403 sjnuog UP;UNQ] SL-AOR-pO
Seles se'Les Jaoneg pue dnd- anajs um buyaoul Xdd] SL-AON-pO
6z'81$ 6781S S184J0M 40) sInUOG UPN] G7-AoN-EO
£9'89$ e999 WeWed - Atddns AousBieuie saxoq 1SeW] SZ-AON-EO
Oeee$ OE'ee$ 4n5 Buypoo gam jm Buysaui ejBD Joong aS] S}-AoN-zZ0
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8S'E9$ ~ 69°E9$ Ssnoyasem Jo} Sesoy pue sanoji6 ‘sped one umoNO}OW] G1-AON-pZ

O0'0S L$ 00°0S1S Aspuynig S,udjasor pue jenuewul3 “qnig exmy| St-AON-Le

be'ZS$ be'Zg$ sano|6 pue saysnug ‘saempuey SAliay| SL-AON-0Z

SLess Gress sayddns ‘jemopaded ‘seysniq ‘asoy - yodag awop4] gL-AON-6)

y9'Szs O's2s SU@JOM JO} SNUCK LUNG] SE-ACN-6}

Se'6L$ SE'BLS

Sa JOM JO} SNUG ,UFURG| SL-AON-gL

